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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

IN RE: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION

Master File No. CV-07-5944-SC
MDL No. 1917

EXPERT REPORT OF ROBERT D. WILLIG

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Introduction

. Qualifications

1. Iam a Professor of Economics and Public Affairs at the Woodrow Wilson School and
the Economics Department of Princeton University, USA. I am also a Senior Consultant
at Compass Lexecon, an economics consulting firm based in the U.S. Previously, I was a
Supervisor in the Economics Research Department of Bell Laboratories. My teaching and
research have specialized in the fields of industrial organization, government-business

relations, and welfare theory.

2. Ihave extensive experience analyzing economic issues arising under the law. From
1989 to 1991, I served as Chief Economist in the Antitrust Division of the U.S.
Department of Justice, where I led the development of the 1992 Horizontal Merger
Guidelines. | met with outsiders, weighed evidence, and participated in decisions on
when to use enforcement power. Core to my work were issues pertaining to alleged
conspiracies and market competition. [ am the author of Welfare Analysis of Policies
Affecting Prices and Products and Contestable Markets and the Theory of Industry
Structure (with William Baumol and John Panzar) as well as numerous articles. I have
served on the editorial boards of The American Economic Review, The Journal of
Industrial Economics, and the MIT Press Series on Regulation. Also, I have served as a
consultant and advisor to the Federal Trade Commission,-the Department of Justice, the
OECD, the Inter-American Development Bank, the World Bank, and the governments of

many nations.

3. I was invited by the Pennsylvania Bar Institute, Antitrust Law Committee CLE and —
the PLI Annual Antitrust Law Institute in 2007 to give talks on class certification matters,

and I have prepared expert reports on class certification matters.

4. My curriculum vitae, which includes a list of my publications, is at Attachment 1. A
list of matters in which J have given sworn testimony as an expert during the past four

years, at trial or in deposition, is at Attachment 2.
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B. Assignment
5. The allegations in this case involve a conspiracy to elevate the prices of cathode ray
tubes (“CRTs”). Plaintiffs allege that Defendants successfully colluded to elevate the
prices of CRTs sold in the U.S. between March 1995 and November 2007 (the class
period).' Plaintiffs have asked the Court to certify a class of indirect purchasers (“IPP
class”) comprised of “[a]l] persons and or entities who or which indirectly purchased
[CRTs] in the United States for their own use and not for resale [during the class

period].. ov

6. I understand that it is incumbent on Plaintiffs to show that injury and damages to the
IPP class as a result of the alleged cartel of CRT manufacturers during the class period
can be established using common evidence and common methods, i.e., that the conduct at

issue had a “common impact” on members of the proposed class of indirect purchasers.
7. Ihave been retained by a subset of the Defendants’ to:

a) Address whether Plaintiffs are likely to be able to demonstrate, at a single
trial, through common proof on a class-wide basis, that all or virtually all of
the members of the proposed class suffered economic injury from the alleged
conspiracy;

b) Review the expert report filed by Dr. Janet Netz, the economic expert for the
IPP class, and opine on the analyses and views presented therein.

8. Asa starting point for my analysis, I assume that the IPP class is correct in its

allegation that the group of defendant CRT manufacturers conspired to elevate prices of

' Named Defendants are: Chunghwa, Daewoo/Orion, Hitachi, IRICO, Philips, LG, LG.Philips
Displays (“LPD”) (an independent joint venture that combined LG's and Philips’ CRT
manufacturing businesses), SDI, SEAI, SEC, Samtel, Thai CRT and MTPD (a new entity formed
by Panasonic and Toshiba with these two entities being named as separate defendants prior to the
formation of MTPD in 2003). (Indirect Purchaser Plaintiffs’ Consolidated Amended Complaint,
16 March 2009, pp.1, 9-29.) I understand that Plaintiffs’ seek to add six additional defendants
(two Thomson entities, three Mitsubishi entities, and Videocon). (Declaration of Janet S. Netz,
Ph.D., in Support of Motion of Indirect-Purchaser Plaintiffs for Class Certification (hereafter
“Netz Report”), p. 3.)

* Indirect Purchaser Plaintiffs’ Consolidated Amended Complaint, March 16, 2009, p.55.
31 have been retained by LG, SDI, SEA, SEC, Philips, Hitachi, Toshiba, Panasonic, and MTPD.
I.

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some CRTs to direct purchasers during the relevant period. However, I do not assume
that the alleged cartel was effective in its attempts to elevate prices to any or all direct
purchasers of CRTs during the twelve-year class period. I also do not assume that any
elevations in prices of CRTs to direct purchasers during the class period by the alleged
cartel were passed along to indirect purchasers. Instead, J investigate whether, as an
empirical matter, the impact — if any — on all indirect purchasers can be assessed using

common evidence and methods.

9. A list of the information and data J relied upon in forming the opinions expressed
herein is attached at Attachment 3. My opinions expressed herein are based on those
materials and data, my knowledge and experience in industrial organization economics
and antitrust economics, my experience in antitrust enforcement at the Department of
Justice, and my experience in advising and consulting with clients on competition matters

over the past 30 years, both here and abroad.

10. The opinions expressed in this report reflect the information and facts I believe to be
true at the time this report is filed. I reserve the right to revise my opinions if additional
information and facts supplied in discovery or through subsequent expert reports and

depositions make such revisions appropriate.

11. Compass Lexecon is being compensated for my work at my usual hourly rate of
$1300, which is the same rate for research and testimony. This compensation is in no way

connected to the outcome of this litigation.

Summary of Conclusions

12. Given the complexities of the CRT marketplace during the class period, my overall
conclusion is that common methods and evidence cannot be used to assess the impact of
the alleged cartel on members of the proposed IPP class, and instead an individualized
examination is required to determine whether any particular direct or indirect purchaser
actually paid a cartel overcharge when purchasing a given CRT or CRT finished product.
I also conclude that the methods of common proof proposed by Plaintiffs’ economist Dr.

Netz are unreliable as a matter of economics and cannot in this case substitute for
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individualized inquiries. I briefly summarize my more detailed conclusions below, and

provide my analyses in the body of this report.

A. Widespread Impact on Direct Purchasers Cannot Be Established using Common
Evidence

13. Dr. Netz claims that common methods and evidence can be used to establish that the
alleged CRT price-fixing conspiracy impacted all or nearly all the members of the
proposed IPP class. With regard to overcharges paid by direct purchasers, this assertion
rests on two claims. The first is Dr. Netz’s claim that prices of CRTs exhibited a “price
structure” which in her view implies that “prices for CRTs with different product
configurations and sold to different customers would respond in similar ways to a price-

fixing conspiracy.”

(The concept of such a “price structure” is not generally recognized
in the economic literature. See discussion in footnote 4.) The second claim is Dr. Netz’s
contention that the Defendants were successful in setting sales prices to match “target

prices” established by the alleged cartel, and that the alleged cartel successfully elevated
the prices for all CRTs sold during the twelve-year proposed class period. Both of these

contentions are untenable in light of economic analysis of the relevant evidence.

* Netz Report, p. 5. Dr. Netz offers various vague definitions for the term “price structure.” At
different points in her report, she states that a price structure means that “prices are related by
market forces” (/d.); “A price structure describes relative prices” (/d., p. 65); and “I call the
relationships between prices for CRTs the price structure.” Ud.) If by “price structure,” Dr. Netz
means only that there is some relationship among CRT prices or that one can calculate the
relative prices between two CRT products, then the existence of a price structure for CRTs
clearly would not be sufficient to demonstrate that “prices for CRTs with different product
configurations and sold to different customers would respond in similar ways to a price-fixing
conspiracy.” (Netz Report, p. 5) More generally, the notion of such a “price structure” is not a
standard concept found in the economics literature, and the establishment of a “price structure,”
however defined, as evidence that a class should be certified is not an approach generally
accepted by economists. (Johnson, J. H., & Leonard, G. K. (2008). In the Eye of the Beholder:
Price Structure as Junk Science in Antitrust Class Certification Proceedings. Antitrust, volume 22
(no 3). pp. 108-112.) Nevertheless, for the purposes of my analysis, J assume that Dr. Netz uses
the term “price structure” to mean that she believes there is some sort of inherent relationship
among prices for different CRTs that would imply that “prices for CRTs with different product
configurations and sold to different customers would respond in similar ways to a price-fixing
conspiracy.” (Netz Report, p. 5)
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Actual Pricing Data Are Wholly Inconsistent with the Existence of a Structure in Prices

of CRTs and CRT Finished Products.

14. Dr. Netz’s Alleged Price Structure Is Inconsistent with the Widespread CRT Price
Dispersion Observed in the Data.

Dr. Netz’s “price structure” theory is inconsistent with the heterogeneity and diversity
observed in the CRT pricing data during.the class period. Specifically, an examination of
the underlying price data shows that prices of CRTs did not move together. Instead,
prices of CRTs moved disparately, with some prices increasing, others decreasing, and
the rest remaining relatively constant. The same is also true of the prices of CRT finished

products.

15. CRT Price Disparity Is Attributable to Various CRT Product Features and the Various

Geographic Regions in which CRTs Were Manufactured and Sold.

CRTs’ prices show such disparity because CRTs are widely differentiated by features
such as application (TVs or computer monitors), brand, size, shape, resolution, the
inclusion or exclusion of deflection yokes,” type of mask, electrical properties, and the
extent and type of customization. CRT prices can also depend on the region in which a

CRT is manufactured and the region in which it is sold. Exhibit 1A illustrates a

As explained in detail in Section HLA below, I observe substantial price variation of this

kind in other months as well.

° “Deflection yoke” and other industry terms are explained later in the report.
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16. Various Market Forces, Such as Competition from LCD and Plasma Technologies,

Impacted Different CRT Prices Differently at Various Points during the Proposed Class

Period.

Substantially different market forces influenced the prices of different CRT segments at
various points during the class period. From 2000 onward, fierce competition from LCD
and plasma display technologies rapidly shrank the CRT share of the display

marketplace. This development affected color display tubes (“CDTs”), which are used in

computer monitors, earlier and more strongly than color picture tubes (“CPTs”), which

are used in TVs. Tvs,

a oh: growth in sales of LCD and plasma screens also affected some types of
CPTs (large and flat screen CPTs) more than others.

17. Different CRT Models Experienced Significantly Different Price Movements over

Time Due to the Various Powerful Market Forces

The differential impacts of various market forces on different segments of the CRT
marketplace are reflected in the substantial heterogeneity in pricing movements across

CRTs. For example:

In nearly every month during the class eriod,

a)
(See Exhibit 2A.)
b) In roughly half the months during the class period

c) For every CRT category, in those
average prices changed the most,

months _ the class _ in which its

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(See
Exhibit 3A.)

d) For every CRT category, in those months during the class period in which its
average prices changed the most
(id.)

18. There Is Substantial Evidence of Differing CRT Price Movements across Geographic

Regions.

In addition to the differentiated CRT price dynamics across and within product
categories, there is substantial evidence of diverse CRT price dynamics across geographic
regions. Marketplace conditions were different for CPTs sold in North America than for
CPTs sold in other parts of the world. LCD and plasma technologies penetrated the U.S.
marketplace earlier and faster than many other parts of the world. Greater competition
from LCDs in the U.S. would likely have reduced the impact of the putative cartel in the
U.S. relative to the rest of the world. Given these facts, it would not be surprising if

prices for CPTs sold in the U.S./North America moved differently from prices for CPTs

sold in other parts of the world. Indeed, ee
RE (S22 xii 9)

19. CRT Finished Products Varied in Price.

CRT finished products such as TVs, monitors, and desktop PC/monitor bundles also

varied substantially in their price levels and price changes. The dispersion in price levels

can be illustrated using prices reported by named IPP class members. For example,

Plaintiff Steve Ganz purchased a 27” Toshiba CRT TV from Best Buy in May 2005 for

$529.99, Inthe same month
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’ The variation in price was likely due to factors such as whether or not a TV was sold in
combination with a VCR.
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20. Prices of CRT Finished Products Exhibited Highly Differentiated Price Dynamics.

a) Month-to-month changes in retail prices of individual TVs and monitors
varied greatly across retailers.

(See Exhibit 2B.)

b) jority of months in the class period,

c) For each category of finished CRT products, in those months during the class
eriod in which its average prices changed the most,

(See Exhibit 3B.)

The Observed Variation in CRT Price Movements Precludes the Use of a Price Structure
Theory as the Basis for Establishing Antitrust Impact to All Direct and Indirect

Purchasers.

21. Common Evidence Cannot Be Used to Establish that the Alleged Collusion Affected

All Prices When Some Prices Increased While Others Decreased.

This kind of variation in price movements makes it implausible that antitrust impact to all
direct and indirect purchasers in the U.S. could be proven on the basis of a “price
structure” theory. For example, between September 2003 and October 2003, 24% of
retail CRT finished product prices declined by at least 5%, while about 44% of retail
finished product prices increased during the same month. Suppose, hypothetically, that
evidence indicated that the alleged collusion affected the pricing of those CRT finished
products whose prices remained the same or increased from September 2003 to October
2003. There is no sound economic basis to assume that this same hypothesized evidence
could show that the alleged collusion affected the prices of CRT finished products whose

prices declined by 5% or more during this same period.

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22. Market Forces Unrelated to the Alleged Collusion Likely Affected the Pricing of
CRTs whose Prices Declined.

Significantly different market forces other than the hypothesized collusion must have
affected the pricing of those CRTs and finished products whose prices declined during
this period. None of the analyses in Dr. Netz’s report demonstrate that proof that the
alleged cartel impacted prices of CRT finished products whose prices increased from
September 2003 to October 2003 can somehow also serve as common proof of antitrust
impact with regard to CRT finished products whose prices actually declined during the
same period. Rather, when, as here, prices of some CRTs and CRT-based products
increased, some decreased, and some stayed the same over the course of the same time
period, individualized inquiries and individualized evidence would be necessary to assess
whether the observed prices were higher than they would have been absent the alleged
collusion.” In particular, evidence specific to the products that experienced price declines
would have to be assembled to show that their prices would have declined by even more
absent the alleged collusion. Thus, individualized inquiries rather than common evidence

would be needed to show class-wide impact of the alleged collusion.

23. Dr. Netz’s Hedonic Regression Models and Their “Results” Do Not Support the

Existence of a Price Structure.

Although Dr. Netz asserts that her hedonic regression analysis supports her claim that
CRT prices exhibited a “structure,” her hedonic regressions rely, improperly for this
purpose, on the average relationships across categories of CRT products, thereby
masking the differences in pricing patterns among different types of CRTs. As a result,

her regressions do not demonstrate that CRT prices exhibited a “structure.” On the

° See ABA Section of Antitrust Law. (2005). Econometrics: Legal, Practical, and Technical
Issues. pp. 209-11. (“[W]hen the prices for some customers are going up while the prices of
other customers are not, there is reason to doubt that the different customers (class members) are
experiencing a common impact.”); Godek, P. E., & Ordover, J. A. (2009). Economic Analysis in
Antitrust Class Certification: Hydrogen Peroxide. Antitrust, Fall 2009. p. 64 (It “is not plausible
to assert that one customer was harmed by a price increase while another was harmed by a price
decrease over the same period.”).
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contrary, in Section III.A below, I demonstrate that a properly constructed hedonic
regression shows that CRT prices exhibit no such “structure,” a finding that is consistent
with a simple examination of the variation in CRT price changes at any given point in
time during the class period. As a result, Dr. Netz presents no reliable evidence that
“prices for CRTs with different product configurations and sold to different customers

would respond in similar ways to a price-fixing conspitacy.”””

There Is No Evidence of Sustained and Effective Collusion across All CRTs Ultimately

Purchased by the Proposed Class.

25. Economic Theory Predicts that Cartels in Industries with Features Similar to those of

the CRT Industry May Potentially Not Be Effective at Generally Raising Prices.

Economic theory has established that cartels in industries with certain features and
conduct are less likely to be effective than cartels in industries without those features.
Such characteristics include: opaque pricing (i.e., suppliers’ prices are not entirely
transparent to competitors) and differing degrees of vertical integration among

Defendants. These features were found in the CRT industry during the relevant period.

26. The Documentary Evidence on which Dr. Netz Relies to Establish the Alleged

Cartel’s Success Actually Indicates that the Cartel Was Not Uniformly Successful.

The evidence strongly indicates that the alleged cartel was not uniformly effective in

elevating prices. For expe,

10 Netz Report, p. 5.

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conclusion based on her analysis. As she herself acknowledges, Pe

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B. Class-Wide Impact on Indirect Purchasers Cannot Be Established using Common
Evidence

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31. CRT Industry Characteristics Make Uniform Pass-Through Highly Unlikely.

Industry characteristics suggest such uniform pass-through is highly unlikely. As an
initial matter, there is no dispute in this case that the proposed IPP class bought thousands
of highly differentiated models of CRT televisions and computer monitors, with
components that included thousands of different CRTs, from hundreds of different
retailers, during a period of more than twelve years. Data produced by re-sellers in the
instant matter indicate that re-sellers often charged different prices to different customers

for the same product based on the store, date of sale, region, and promotions in place.

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32. Finished Product Price Levels and Price Changes Varied Greatly across Retailers.
Products, and Time Due to (1) the Complex and Lengthy CRT Distribution Chains and
(2) Various Strong Market Forces that Impacted CRT Models Differently.

Not only were the price /evels of CRT finished products differentiated across retailers,
products and time, changes in prices of CRT finished products were also highly
differentiated. In any given time period, the prices of most finished CRT products, like
the prices of CRTs themselves, changed substantially and very differently over the
twelve-year class period (although generally trending down). Different CRT products
were affected by different market forces and were affected by the same market forces
differently. Compounding the elements of heterogeneous dynamics, distribution chains
for CRTs were diverse and could be long and complex. Many CRTs were sold up to five
times (including when embedded in a finished product) before reaching the end user. The
distribution chains included various types of re-sellers (bricks-and-mortar retailers,

internet retailers, commercial distributors, etc.) with varying business models.

33. Dr. Netz Ignores Relevant Industry Characteristics and Uses a Flawed Regression

Model to Conclude Invalidly that Average Pass-Through Rates Were Uniformly Greater
than 100%.

Despite these industry features, Dr. Netz concludes, based on a regression analysis of
prices and costs, that average pass-through rates were uniformly 100% or higher among
the varied intermediaries in the CRT distribution chains that she examined. There are
-several substantial flaws in Dr. Netz’s regression model, and correcting (or mitigating)
these flaws leads to a very different conclusion: that average pass-through rates were
often below the rates estimated by Dr. Netz and varied substantially across re-sellers and

manufacturers.

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34, Additionally, Dr. Netz’s Regression Model Is Misleadingly Inapposite for Analysis of

the Validity of the Proposed Class Because It Estimates an Average Pass-Through Rate

for Each Firm, Rather than the Pass-Through Rates for Particular Transactions, Thus

Ignoring the Substantial Variations in Pass-Through Rates across Different Products,

Time Periods, and Customers.

Even setting aside the flaws in her regression model, Dr. Netz’s pass-through analysis is
not on-point for analysis of the validity of the proposed class because it generates
estimates of only the average pass-through rate (across all products, time periods, and
customers) for each finished product manufacturer or reseller in the distribution chain.
Dr. Netz’s analysis provides no information about the pass-through rate for particular
transactions or for the transactions that lead up to a sale to an end-user. This is a critical
shortcoming of her analysis because the data reveal that pass-through rates varied widely
by manufacturer or re-seller, product, and time period, among other factors. In particular,
pass-through rates were often well below the average pass-through rates estimated by Dr.
Netz, and in a significant number of cases re-sellers did not pass-through cost changes at
all. As a result, estimates of the average pass-through rate provide no indication of
whether the alleged overcharge on a particular product was passed-through to a particular
customer, and thus do not constitute a reliable methodology for demonstrating that the

alleged conspiracy had class-wide impact.

Widespread Impact on Direct Purchasers Cannot Be Established using
Common Evidence

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assertion rests in turn on two basic claimed propositions:

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37. Overall, it is my conclusion that a finding of impact of the alleged collusion on all (or
almost all) of the members of the proposed IPP class cannot validly be established by

means of common evidence and common methods.

A. No Evidence of a “Structure” to Prices of CRTs and CRT Finished Products
38. Dr. Netz’s conclusion of common impact rests heavily on her claim that

a To support this claim, Dr. Netz presents what she refers to-as a “hedonic

pricing analysis.” Below, I demonstrate that her claim tha

aa is unsupported by her hedonic price analyses or the data. First, however, I

describe the salient features of the CRT marketplace, the enormous heterogeneity in

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CRTs and CRT finished products, and the differentiation in the market forces to which
various CRTs and CRT finished products were subjected. In view of this diversity, a
i Instead, CRT and CRT finished-product price dynamics were highly

differentiated during the class period.

Widely Differentiated CRTs and CRT Finished Products Resulted in Widely Different

Dynamics for Their Prices.

39. CRTs were widely differentiated by features such as application (TVs or computer
monitors), size, shape, resolution, the inclusion or exclusion of deflection yokes, type of
mask, electrical properties, and the extent and type of customization. CRT prices also
often varied based on the region in which the CRT was manufactured and the region in
which it was sold. Finished-product prices varied widely based on the aforementioned
characteristics of the CRT, as well on the type of sound system, HDTV capability,
picture-in-picture capability, whether the product included a built-in VCR and/or DVD
player or was bundled with a desktop PC, the retailer, the time period and a variety of

other factors.

40. For example, CDTs were used solely in desktop computer monitors and CPTs were

used solely in televisions. ll
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(footnote continued ...)

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41. CDTs and CPTs were further differentiated along a variety of dimensions. For
example, CPT pricing depended on CPT size, shape (curved or flat), and the type of

“mask”! included in the CPT. Similarly, ee

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42. A particular CRT model was not easily interchangeable with other CRT models, even
those that may have shared similar basic features. Each CRT model was designed to fit

the specific technical requirements of a particular finished product requested by a

customer. For example, the connection points between the CRT and the external] casing

were specific to a given customer’s finished product design. ee

(... footnote continued)

?] The “shadow mask” is a finely perforated screen that ensures that an electron beam strikes the
correct phosphor dot. “In a colour picture tube, it is absolutely necessary to ensure that each of
the three electron beams strikes only one phosphor in each triad. For this purpose, a mask, called
a shadow mask or an aperture mask, is inserted between the neck of the picture tube and the
phosphor dot screen.” (Bali, S. P. (1994). Colour Television: Theory and Practice. Delhi: Tata
McGraw-Hill Publishing Company Limited. p. 83)

2 The “frequency,” also called the refresh rate, is the number of times per second the image on a
display device is refreshed or restroked on the screen. (Graf, R. F. (1999). Modern Dictionary of
Electronics, 7th Edition. Woburn, MA: Butterworth-Heinemann.)

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*° Similarly, Exhibit 1B shows that
The exhibit shows

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As seen inthe ex,

45. The resulting dispersion in prices can be illustrated using prices reported by named

IPP class member, Steve Ganz. Mr. Ganz purchased a 27-inch Toshiba CRT TV from

Best Buy in May 2005 for $329.99. 3! Tn the same month, ee

46. Prices of the various CRTs and CRT finished products also changed in heterogeneous

31 naire Purchaser Plaintiffs’ Consolidated Amended Complaint, 16 March 2009, p. 5.

(footnote continued ..

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47. Similarly, Exhibit 28 <0

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49. Further evidence of in Exhibit 3A, which

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(... footnote continued)

as illustrated in Exhibit 6.)

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Exhibit 3B.)

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°° (See Exhibit 3A.)

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Exhibit 3A.

(footnote continued ..

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as shown in Exhibit 3B.

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53. This kind of variation in price movements makes proving antitrust impact to all direct

and indirect purchasers in the U.S. based on a “price structure” theory implausible. By

way of an example

(... footnote continued)

39 “Small” CPTs are defined as CPTs that are smaller than 20 inches in diameter. “Medium”
CPTs are defined as CPTs between 21 and 29 inches in diameter. Large CPTs are defined as
CPTs that are at least 30 inches in diameter.
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None of the analyses in Dr. Netz’s report demonstrate that proof of cartel impact on CRT
finished products whose prices increased from September 2003 to October 2003 can
somehow also serve as common proof of antitrust impact with regard to CRT finished

products whose prices actually declined during the same period.

54. The heterogeneous price dynamics of CRTs and CRT finished products likely were
the result of differentiated features of these products and more importantly the result of
substantially different market forces that influenced the prices of different CRT product
segments at various points during the class period. From 2000 onward, fierce
competition from LCD and plasma display technologies rapidly shrank the CRT share of
the display market. This development affected certain types of CRTs more than others. I

turn to this next.

Substantially Different Market Forces, Such as Competition from LCD and Plasma
Technologies, Influenced CRT and CRT Finished Product Prices Differently during the
Alleged Class Period.

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“°T exclude rear-projection CRT TVs from my analyses since J understand that they are not part
of the instant litigation.

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eS RS «ices
Exhibit 4A and Exhibit 48 sh

EE (See Exhibit 5B)
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a. it would not be surprising to find very different dynamic price patterns for various

* For the purpose of my analyses, “large” CRT TVs are defined to be TVs that are at least 30” in
viewable size.

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segments of CRTs. Consistent with this view, my analyses of CRT pricing data

demonstrate that global prices of CDTs typically fell more and earlier than prices of

CPTs, Moreover, iis
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59. ee illustrated in Exhibit 6. na
i (measured using chained Fisher Indices***’) a

EE . \s illustrated in Exhibit 6,
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“6 The month-to-month change in the Fisher Price Index for CPTs (for example) represents an
average of the price changes for CPT models sold in both months. The price changes across
months | and 2 are averaged in two ways — once using the month 1 sales volumes and once using-
the month 2 sales volumes. The change in the Fisher Price Index represents the geometric mean
of the two average price changes.

“’ Fisher Indices (or more precisely, chained Fisher Indices of the type I employ) are an accurate
way to track changes in average prices of CRTs over time because they remove the effect of
changes in product mixes from price trends. (Diewert, W. E. (1993). The Early History of Price
Index Research & Fisher Ideal Output, Input and Productivity Indexes Revisited. In W.E.
Diewert and A.O. Nakamura (Eds.), Essays in Index Number Theory, Volume J, Elsevier Science
Publishers. pp. 58, 320-330; International Labour Organization. (2004). Consumer Price Index
Manual: Theory and Practice. International Labour Organization. pp. 6-32.)This is important
because the mix of CRTs changed substantially during the class period, with the advent of
higher-quality flat, wide-screened, high resolution CRTs that were introduced in response to
LCD and plasma competition. Since these high-quality CRTs were priced higher than lower
quality CRTs, ignoring the improvement in product quality over time would mask declines in
prices for CRTs of similar quality, and hence I remove the effects of changes in product mix by
using Fisher Indices.

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more than the average price of CPTs. This is consistent with the view that CDTs faced

greater competition from LCDs than did CPTs.

60. Although prices of CPTs and CDTs generally trended downward during the relevant

period, the month-to-month changes in CPT prices frequently differed from changes in

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(See Exhibit 3A.)

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Exhibit 3A.)

Conduct Directed at CRT Prices Outside the United States Need Not Have Elevated CRT
Market Prices in the United States.

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substantial evidence fa

(... footnote continued)

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66. Market conditions for CPTs in North America were indeed different from those in the

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67. A significant difference between CDTs and CPTs is that, while few CDTs were
produced in North America (most of the monitor production was in Asia), a substantial

volume of CPTs used in TVs sold in the U.S. was manufactured in North America. ™*

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4 See the following reports by Fuji Chimera, an analyst firm that tracks CRT sales: Forecasts
and Trends for Flat Panel Displays and Their Applications. (2000). p. 142. Fuji Chimera
Research Institute, translated by InterLingua; Flat Panel Display Applications: Trends and
Forecasts. (2001). p. 180. Fuji Chimera Research Institute, translated by InterLingua; Trends
and Forecasts: Flat Panel Display Applications (2002). p. 203. Fuji Chimera Research Institute,
translated by InterLingua; Flat Panel Display Applications: Trends and Forecasts. (2004). p.
236. Fuji Chimera Research Institute, translated by InterLingua; Flat Panel Display
Applications: Trends and Forecasts. (2005). p. 231. Fuji Chimera Research Institute, translated
by InterLingua; Trends and Forecasts: Flat Panel Display Applications. (2006). p. 253. Fuji

(footnote continued ...)

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68. Given these facts, [Iii

(See Exhibit 9.)

Dr. Netz’s Hedonic Regressions Mask the True Changes in Prices.

69. In light of the diverse patterns of price movements among different CRTs, CRT
finished products, and regions, it is highly implausible that evidence that is common
across the class could prove that most of the members of the proposed class were
impacted by the alleged collusion over the pricing of CRTs. Rather, many individualized
inquiries would be necessary to assess whether the observed prices are higher than they
would have been absent the alleged collusion for the many different CRT finished

products with diverse patterns of price movements over time.

70. Despite the substantial variation in product and other characteristics affecting CRT
prices and the clarity of the data regarding the wide dispersion in CRT price levels and

changes, Dr. Netz claims that CRT prices exhibited a “structure.” Although she eschews

(... footnote continued)

Chimera Research Institute, translated by InterLingua; Flat Panel Display Applications: Trends
and Forecasts. (2007). p. 226. Fuji Chimera Research Institute, translated by InterLingua.”

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a direct test of price co-movements and structure, Dr. Netz does perform what she regards
as an indirect test of price structure to support her assertion that such a structure exists.
Specifically, she presents the results from a “hedonic regression” that she contends
supports her view. However, her hedonic regression analysis does not support the view
that CRT prices exhibit a price structure. In fact, a properly designed hedonic regression
analysis demonstrates the opposite, i.e., that price movements were differentiated across

various categories of CRTs.

71. Dr. Netz estimates a series of hedonic regressions using CDT and (separately) CPT
data. These regressions attempt to predict CDT and CPT prices based on (i) a few product
characteristics of these CRTs, (ii) variables to capture time trends in prices,’ and (iii)
customer-manufacturer fixed effects (“buyer-seller dummy” variables) to reflect the

impact of interactions between individual customers and manufacturers. She finds that]

| ich she concludes

shows that “[T]here is a common pricing structure; CRT prices are largely determined by

a formula based on the characteristics of the product and the period in which the

transaction took place.”°?

°° These characteristics are: size, aspect ratio, whether the CRT was sold with or without a
deflection yoke, whether the deflection yoke (if any) was calibrated, and, in a subset of the
regressions, whether the CRT was curved or flat.

>? By including a linear time trend variable and a time squared variable in her regressions, Dr.
Netz implicitly assumes that time trends affected all CDTs or CPTs in an identical fashion.

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»° Netz Report, p. 71.

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72. A critical question when assessing whether impact can be established through
common proof is whether a cartel-induced elevation in the price of one type of CRT
would necessarily increase the price of similar CRTs. For example, if the alleged cartel
were to increase the prices of 14-inch CPTs, would the prices of 21-inch CPTs (that are
otherwise identical) also increase — even if the cartel did not target 21-inch CPTs? If
“yes,” then that would be consistent with the existence of a price structure (at least
between these two types of CPTs) along the lines of what Dr. Netz appears to propose.

73. However, this question is not directly answered by Dr. Netz’s hedonic regressions.

They report the average differential in price between various sizes of CPTs (and CDTs)
during the relevant period. Consider the following hypothetical example, in which there
are only two periods and two products: the price of all 14-inch CPTs increased from $50
in period 1 to $70 in period 2, whereas the price of all otherwise identical 21-inch CPTs
declined from $200 in period 1 to $180 in period 2. Assuming that unit sales of each
product were the same across both periods, a hedonic approach of the type used by Dr.
Netz would report that 21-inch CPTs had an average premium of $130 in the two periods.
This method fails to reflect the fact that the prices of the two types of CPTs moved in
opposite directions between period | and period 2. Clearly, the fact pattern in this
hypothetical would not support the claim that an increase in 14-inch CPT prices must

- necessarily result in an increase in 21-inch CPT prices.

74, A more direct approach to testing whether the éxistence of a cartel-induced elevation
in the price of 14-inch CPTs would necessarily increase the price of 21-inch CPTs would
examine whether the average premium commanded by 21-inch CPTs over 14-inch CPTs
actually changed over time. If it did, as in the above hypothetical example, it would
indicate that increases in 14-inch CPT prices do not necessarily lead to increases in 21-

inch CPT prices.

°° Dr, Netz relies on the proposition that her hedonic regressions explain much of the variation in
CRT prices to support the notion that her hedonic regressions imply a price structure. However,
as I explain later in this section, Dr. Netz’s hedonic regressions are unable to explain a material
amount of CRT price variation.

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75. To analyze whether the average price difference between two different CRT sizes
vary over time, I implemented Dr. Netz’s regression (without buyer-seller dummy

variables) separately for each year for which data were available and recorded the

coefficients in each year for the most popular CDT and CPT sizes.°! © The results,

presented in Exhibit 10A and Exhibit 114,

TS Fo: ool, in NN Exhibie

76. Moreover, Dr. Netz’s hedonic regressions provide no support for the existence of a

price structure even within a given year. If CRT prices exhibit a price structure, these
regressions should show that within a given year, the price premiums for larger CRTs
relative to smaller ones should be fairly similar across manufacturers. The results of this

analysis are presented in the tables in Exhibit 12 and Exhibit 13. These exhibits clearly

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® In Exhibit 10A, Exhibit 11A, Exhibit 12 and Exhibit 13, I rely on hedonic regressions without
buyer-seller dummies that Dr. Netz includes in her regressions because she contends that buyer-
seller interactions (captured by the buyer-seller dummies) do not have a material influence on
CRT prices. (“If transaction prices were driven primarily by individual factors such as the nature
of the class member or the outcome of a specific negotiating procedure between each Defendant
and each direct purchaser, then I would not find a common pricing structure determined by

common CRT characteristics that would explain a majority of the variation in prices.” Netz
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77. Dr. Netz cites to the high R-squared statistic in her hedonic regressions (i.e., the fact
that observed product characteristics included in her regressions explain a substantial
portion of the variation in CRT prices) as evidence of a price structure determined mostly
by a few observable product characteristics and time trends. However, a relatively high
R-squared in hedonic regressions is entirely consistent with individual factors such as
customers’ bargaining power and the process of negotiations as well as product

characteristics omitted from her analysis having an important role in determining prices.

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° Netz Report, pp. 68-69.
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as seen in Exhibit 14A. a

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6° } did this analysis without the individualized buyer-seller dummies since Dr. Netz discounts
the importance of these dummies and contends that observed product characteristics alone are
sufficient to reliably determine CRT price. However, including them does not qualitatively alter
results.

66 See, e.g.,

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B. No Uniform, Effective and Sustained Collusion

Economic T. heory Suggests that, Contrary to Dr. Netz’s View, the CRT Cartel Was
Potentially Ineffective at Raising Prices of CRTs across the Proposed Class.

81. Economic theory has established that cartels in industries with certain features and

conduct are less likely to be effective than cartels in industries without those features.

°° Specifically, Dr. Netz explains that “[b]ecause cartel members must be compensated for the
expense and risk they incur by participation in a cartel, a cartel will set target prices above the
competitive level.” (Netz Report 1.) However, in her deposition, Dr. Netz conceded

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Such characteristics include opaque pricing (i.e., prices are not entirely transparent to
suppliers)’* and differing degrees of vertical integration across Defendants.’” These

features are found in the CRT industry during the relevant period.

82. Transparency of pricing matters for cartel stability because a carte] cannot succeed if
cartel members can readily gain sales by cheating on the agreement and undercutting
cartel prices without inviting retaliation. Cheating is more likely to be detected and
deterred if each member of the alleged cartel were able to observe prices other cartel
members charged their customers. If so, members would be able to detect whether cartel
participants are, in fact, complying with the agreed-upon target prices. Conversely, if
prices are opaque, then cartel members are unlikely to be able to detect cheating in a
timely manner. Opaque pricing is especially likely to destabilize a cartel if the market
experiences frequent changes in demand, cost and technology because it would be
difficult for cartel members to separate price changes and shifts in market shares due to
such changes in market conditions from price changes and shifts in market shares due to

cheating.”°

83. As noted above, CRTs are extremely heterogeneous products, and CRT prices depend

materially on a variety of CRT features. ee
ee.

™ See, e.g., Church, J., & Ware, R. (2000). Industrial Organization: A Strategic Approach.
McGraw-Hill. p. 340.

® See, e.g., Carlton, D.W., & Perloff, J. M. (1999). Modern Industrial Organization, 3rd edition.
Addison-Wesley. p.138.

”® Carlton, D.W., & Perloff, J. M. (1999). Modern Industrial Organization, 3” edition. Addison-
Wesley. p. 137; Motta, M. (2004). Competition Policy: Theory and Practice. Cambridge

_ University Press, p. 150; Scherer, F.M. (1980). Industrial Market Structure and Economic
Performance, 2” edition. Houghton Mifflin. pp. 205-206; Church, J., & Ware, R. (2000).
Industrial Organization: A Strategic Approach. McGraw-Hill. p. 341.

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84. Opaque and complex pricing are all the more likely to have eroded the effectiveness
of the alleged cartel because there were major changes in the industry during the class
period such as the growing competitive presence of LCD and plasma technologies.”
Shifts in CRT market shares and price changes due to technology disruptions would be

difficult to separate from share shifts due to cheating when prices are hard to know.

85. In addition to complex and opaque prices, the differing degrees of vertical integration

by CRT suppliers also make it unlikely that the alleged cartel was uniformly and

consistently effective in elevating prices. ee

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” The shift from analog TV to digital TV in the U.S. was another notable change in the CRT
marketplace during the class period. In particular, widescreen and high definition digital CPTs
differed from analog CPTs and from CPTs used to display standard definition digital broadcasts.
(United States International Trade Commission. (2000). Color Picture Tubes from Canada,
Japan, Korea, and Singapore, Investigations Nos. 73 1-TA-367-370 (Review), Determinations
and Views of the Commission. USITC Publication No 3291. pp. 21-22.)

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86. Economists have identified such asymmetries in vertical integration as a contributor
to cartel instability.” The price paid by a finished product manufacturer to an affiliated
CRT manufacturer (the “transfer” price) is likely to be hard to detect by other firms, and
the output incentives of a vertically integrated supplier of finished products are apt to

differ significantly from those of non-integrated upstream and downstream producers.”

87. Although the CRT industry contains features that likely eroded the effectiveness of
the alleged cartel, it is also true that the CRT industry is characterized by other factors
that economists have identified as facilitating collusion (for example, high entry barriers
due to substantial sunk costs of setting up CRT plants®). Thus, whether or not the CRT
cartel alleged by the IPP class was uniformly effective in elevating prices of all (or most)
products and customers during the twelve-year class period is ultimately an empirical

question that needs to be resolved by examining the evidence on record.

(... footnote continued)

82 Carlton, D.W., & Perloff, J. M. (1999). Modern Industrial Organization, 3" edition. Addison-
Wesley. p.138. :

83 In particular, whereas unaffiliated finished-product manufacturers could be expected to use
favorable pricing offered by one CRT manufacturer to try to convince other CRT manufacturers
to offer even lower prices, an integrated finished-product manufacturer would not reveal that its
upstream affiliate had cheated on the cartel agreement by lowering its transfer price.

84 The construction of a CRT manufacturing plant required an extensive amount of time, and a
high initial capital investment, and, once built, could not readily be used for uses other than CRT

; and United States International Trade Commission in
the Matter of: Color Picture Tube from Canada, Japan, Korea, and Singapore, supra note 79, p.
18.

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Documentary Evidence Suggests that, Contrary to Dr. Netz’s View, a

88. In fact, the evidence strongly indicates ee
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85 Consistent with this, a

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86 See Fuji Chimera reports cited in supra note 54

8” Economists have recognized that shifting shares among alleged cartel members is a symptom
of an unstable cartel. See, e.g., Grout, P., & Sonderegger, S. (2005). Predicting Cartels. Office of
Fair Trading; Harrington, J. E. (2007). Detecting Cartels. In P. Buccirossi (Eds.), Advances in
the Economics of Competition Law. MIT Press.

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90. This documentary evidence

91. For xem,

88 See, €.g.,

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A Properly Specified Econometric Model Shows Little or No Connection between the
Alleged Cartel Target Prices and Actual Prices.

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Exhibit 16.) The R-squared statistic is a standard metric ranging from 0 to | that
measures the share of variation in the dependent variable in the model i

> that is explained by the independent variable(s) it
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93. Moreover, target price changes do an extremely poor job of predicting changes in
actual prices even on average. Specifically, as noted in Exhibit 16, a

.. footnote continued)

%3 Gujarati, D. N. (1995). Basic Econometrics, 3" edition. McGraw Hill.
** See Exhibit 16 for

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0:20. even this slight

correlation does not imply causation (i.e., the change in actual price may not be due to the
change in target price) since actual and target price changes are both likely to have been

affected in the same direction by common market factors, generating some positive

correlation between the (vo ris,

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Mair actual prices followed target prices closely, I would expect most observations to be

located close to the 45-degree line ee indicating that an actual

price change was equal to the alleged applicable target price change. a

As explained above, varying degrees of vertical integration among alleged cartel
members can potentially erode the effectiveness of price cartels. The transfer price paid
by an affiliated downstream finished-product manufacturer to an upstream CRT
manufacturer is likely to be opaque to other CRT manufacturers, thus enabling integrated
firms to deviate from cartel agreements with a relatively lower risk of detection and

penalties for such cheating.

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ee Specifically, I implemented the same

econometric model as the one described above (i.e., where I assess how well month-to-

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month changes in actual prices are predicted by target price changes), but now I do so
separately for merchant and transfer CRT prices. Put differently, I inquire whether there
is any difference between (a) the extent to which changes in transfer CRT prices are
correlated with target price changes and (b) the extent to which changes in merchant CRT

prices are correlated with target price changes.

99. If vertically integrated firms deviated more from the target prices identified by Dr.
Netz when they sold CRTs to downstream affiliates than when they sold to unaffiliated

customers, then we would observe a smaller correlation between transfer prices and

target prices than between merchant prices and target prices. i

101. Insum, I conclude that the evidence indicates that the cartel was either ineffective

or at least was not uniformly effective. Consequently, an individualized inquiry would be

11 test for significance using a two-tailed t-test at the 95% level.

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required to establish whether the cartel was effective at elevating prices for specific CRT

models to specific customers at specific times.

102.

I turn next to my assessment

of these conclusions of Dr. Netz.

Dr. Netz’s Target Price Analysis Is Biased towards ee

103.

104. Dr. Netz’s methodology thus leads her to compare a target price for more basic
models in a group with an average actual price that includes both basic and premium
CRTs in that group. Because premium CRTs are likely to be priced higher than basic
models, this is not an apples-to-apples comparison. Instead, it biases her average actual
prices up relative to the alleged target price. As a result, even if manufacturers always set
actual prices below target prices, her test could indicate that actual sales prices were close

to or above target prices. Her test is therefore biased toward finding a successful cartel

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simply by its construction, regardless of the extent of the alleged cartel’s actual

effectiveness.

Dr. Netz’s Target Price Analysis Inherently Masks Differences between Actual and

Target Prices.

105. Moreover, the relevant question for class certification is not whether the cartel
was effective in elevating prices on average. Instead, the pertinent issue is whether the
alleged cartel succeeded in elevating prices to all or most members of the class in the
U.S. during most of the relevant period for most products and whether that widespread
impact across direct purchasers can be established using common evidence. Dr. Netz’s
target price analysis does not and cannot establish the existence of such widespread

injury due to her focus on average prices.

06,

i By focusing on average prices across all CRT models, her analysis masks

considerable differences between the actual and target prices for individual CRT

rode!

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HE instead of comparing average prices across all CRT models, I compared the
actual price at which each individual CRT model was sold to each customer in a given
month to the putative target price that Dr. Netz identified as applicable to that model,

customer, and month.

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Dr. Netz’s Failure to Perform any Analysis of But-For Prices, at a Minimum, Leaves

Open the Possibility that a Substantial Number of Class Members Were Not Injured.

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. In fact, nothing in Dr. Netz’s

analyses permits the fact-finder to determine whether a particular transaction price was
consistent with the target price allegedly set by the alleged cartel. There are two reasons

for this.

112. First,

113. Second,

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114.

Class-Wide Impact on Indirect Purchasers Cannot Be Established using
Common Evidence

Differentiated Pass-Through Rates along Complex Distribution Chains.

115. Even assuming arguendo that the alleged cartel had a uniform impact on the
prices paid by direct purchasers of most or all CRTs during the class period, it likely
would have had a uniform impact on the prices paid by end users only if the increase in
CRT prices flowed through the various stages of the manufacturing and distribution chain
to end users in a uniform manner. However, if pass-through rates differed across various
stages of the distribution chain, various entities within the same stage of the distribution
chain, and/or sales by the same entity, then end users would not have been impacted in a
uniform fashion. Moreover, if some of the various entities periodically did not pass-
through cost changes for some products and customers, then some (and perhaps many)
end users may not have been impacted at all. As a result, individualized inquiries specific
to the distribution channel, product, and time would have to be made in order to assess

impact.

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BEG As an initial matter, there is no dispute in this case that the proposed IPP class
bought thousands of highly differentiated models of CRT televisions and computer

monitors, with components that included thousands of different CRTs, from hundreds of

different retailers, during a period of more than twelve years. ee

Both Price Levels and Changes in Price Levels Were Highly Differentiated

118.

110

") “Re-sellers” include not just retailers such as Costco, Best Buy, and PC Connection (an
internet retailer) but also distributors such as Ingram Micro that sold primarily to business
customers.

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119. Not only were the price /evels of CRT finished products differentiated across
retailers, products and time, changes in prices of CRT finished products were also highly
differentiated. The prices of most finished CRT products, like the prices of CRTs
themselves, changed substantially and very differently over the twelve-year class period

(although generally trending down).

Ez These disparate pricing patterns for CRT finished products make it unlikely that
pass-through rates were uniform across all CRT finished products, retailers, customers,
and time, which in turn makes it highly problematic to prove that all indirect purchasers
paid an overcharge for a CRT television or monitor using class-wide rather than

individualized evidence.

The CRT Distribution Channels Were Long and Complex

120. Compounding the challenge, distribution chains for CRTs were diverse and could

be long and complex. Many CRTs could be sold up to five times (including when

embedded in a finished product) before reaching the end user.'”? Pe

"3 Tt is important to note that because a CRT can be sold numerous times, even if some portion
of a cost change is passed-through at each stage of the distribution chain, the total pass-through
from the original CRT sale to the end user may be negligible. For example, if cost changes are
passed-through at a rate of 30% at each level of the distribution chain for a CRT that passes
through four levels, the total pass-through rate would be 30% x 30% x 30% x 30% = 0.81%,
which is so small that concluding there was pass-through for any given transaction would be
purely speculative, and detecting pass-through to end users would be unreliable.

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I 13. complex of cistibution

channels is illustrated in Exhibit 23.

121. Additionally, as discussed above, the distribution chains include various types of

re-sellers (bricks-and-mortar retailers, internet retailers, commercial distributors, etc.)

with varying business rs.

Given the substantial differences between the various resellers

in the CRT distribution chain, one would expect pass-through rates to be far from

uniform across CRTs and finished products, retailers, customers, and time.

Dr. Netz’s Flawed Pass-Through Regression Model Only Estimates Average Pass-
Through Rates

122.

, Dr. Netz’s pass-through analysis is fundamentally inapposite for

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assessment of the proposed class since she generates estimates of only the average pass-
through rate for each finished product manufacturer or reseller in the distribution chain —
averaged across time periods, products and transactions. Dr. Netz assumes without
discussion or support that the average pass-through rate that she estimates applies to all
time periods, products and transactions. However, market conditions changed over time
and different segments of CRTs were subject to different market conditions, as explained
above. One would expect these significant variations in market conditions to have led to
significantly heterogeneous pass-through rates. Indeed, as noted in pleadings by several

. . 115
retailers, pass-through rates may sometimes have been zero.

123. Ihave examined the distribution of pass-through rates for the entities analyzed by
Dr. Netz, and J find that each of them responded to cost shocks in widely divergent ways,
depending on the time period and product, so that the rate at which a particular entity
passed-through CRT or finished product cost changes was far from uniform across
products and across time. Moreover, for some entities, the pass-through rates were not

positive in a significant number of instances.

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"° Best Buy Co. Inc. et al. Complaint, 992, 14 November 2011; see also Trustee of the Circuit
City Stores, Inc. Liquidating Trust Complaint, (217, 14 November 2011; Compucom Systems,
Inc. et al. Complaint, 988, 14 November 2011; Costco Wholesale Corporation Complaint, 184,
14 November 2011; Electrograph Systems, Inc. et al. Complaint, 998, 10 March 2011; Interbond
Corporation of America Complaint, 986, 14 November 2011; Office Depot, Inc. Complaint, 987,
14 November 2011; P.C. Richard & Son Long Island Corporation et al. Complaint, 992, 14
November 2011; Schultze Agency Services, LLC Complaint, 90, 14 November 2011; Target
Corp. et al. Complaint, 4106, 6 January 2012.

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120 Tt is possible that some of the heterogeneity in pass-through rates stems from limitations in

available i However, even if this is the case, it

would imply only that it is impossible to determine from the available data whether pass-through

rates are highly variable, or whether the available data are insufficient to accurately estimate

pass-through rates for particular manufacturers/resellers, products, customers, and time, or both.
(footnote continued ...)

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marketplace conditions that determined the pricing of this specific product would be
necessary to determine whether any alleged overcharge due to the putative cartel would

have been passed through to customers.

(... footnote continued)

This, in turn, would imply that the impact of the alleged cartel on a particular member of the
proposed class cannot be determined using common evidence of the sort proposed by Dr. Netz
(i.e., a regression model implemented using data produced by retailers and manufacturers).

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126. As the results presented above prove, the average pass-through rates estimated by
Dr. Netz mask considerable variation in pass-through rates for a given re-seller or
finished product manufacturer — including many cases in which cost changes do not
appear to have been passed-through at all. As a result, it would be impossible to
determine whether any alleged CRT overcharges were passed-through to a particular
member of the proposed indirect purchaser class without an individualized inquiry into
the pass-through rate, if any, for that particular product at each link in the distribution

chain.

Dr. Netz’s Flawed Pass-Through Regression Model Fails to Control for Differences

across Products and Market Changes.

127. Even as an estimate of the average pass-through rate at each re-seller, Dr. Netz’s
approach is flawed because she does not properly control for differences across CRT
finished products and for changes in market conditions over time (factors that she

acknowledges are important to address).'”°

Once these flaws in her approach are
addressed, the data reveal that (a) Dr. Netz over-estimates average pass-through rates,
and (b) average pass-through rates significantly differed across manufacturers and
resellers and across CRT finished products. I explain these issues in the rest of this

section.

128. The first flaw in Dr. Netz’s approach is that she does not properly control for
differences across products. Dr. Netz’ estimates of average pass-through rates rely in

large part on comparing the prices and costs of different CRT finished products. a

'23 Tn order to estimate pass-through rates, Dr. Netz relies on a regression where the dependent
variable is the sales price of a particular CRT finished product at a particular point in time and
the independent variables are: a small group of finished product characteristics and the cost of
that product.

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, see http://jevinc.com/ctxp]9crt19i-
ehtml and http:/Awww.superwarehouse.com/CTX PR960FL 19 CRT Monitor/PR960FL/p/-
14753.

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a In such cases, Dr. Netz’s regression analysis would over-estimate
average pass-through rates because it assumes that all price differences between products
that share a few characteristics are entirely attributable to the products’ cost

differences.'®

131. Not only does Dr. Netz compare very different products, but she also compares
CRT finished products at very different points in time. This leads to a second problem
with Dr. Netz’s approach to pass-through. For example, her analysis compares the prices
of 27-inch CRT TVs in 1996 with their prices in 2007. CRT TV prices typically declined
during the class period. Some of this decline was likely due to the fact that wholesale
prices and manufacturing costs of CRT TVs declined, and such cost declines were passed
on in the resale prices of the TVs. However, it is likely that some of the decline in retail
prices of CRT TVs was also due to changes in consumer preferences in favor of newly

emergent LCD TVs (as explained earlier), ee

a.” Additionally, the decline in retail demand for CRT TVs and monitors

8 Tn principle, it appears Dr. Netz agrees that it is important to control for differences in
characteristics across CRT finished-product models: “....when observing multiple products or a
product sold at multiple outlets at a single point in time, there may be differences across products
and/or across outlets that may have an impact on price as well as on cost.” (Netz Report, p. 116)
The solution she suggests is to “include variables to control for different product characteristics
to the extent possible given the data.” (Netz Report, p. 115) However, her solution will not be
sufficient unless the identifiable product characteristics are able to perfectly explain differences
in demand between products. This is surely not the case for the data on which Dr. Netz relies
because they contain only limited information on product characteristics.

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_ likely would have exerted pressure on upstream suppliers to reduce the wholesale prices

they charged for CRTs and CRT finished products.'*°

132. A proper estimate of pass-through rates would separate these two sources of .
pricing pressure (i.e., cost reduction and demand reduction) on CRT TVs. Conflating and
aggregating the two would exaggerate pass-through rates and attribute the entire decrease
in retail prices to the decline in cost when, in fact, the decline in price was at least partly
due to changes in consumer preferences and LCD competition. Although Dr. Netz

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acknowledges this issue and the need to address it, ~’ she does not, in fact, attempt to

control for market trends in her pass-through estimates.’

13! Netz Report, p. 116. (“when observing changes in prices and costs over time, not only is the
cost changing, but other factors are changing too, such as the quality of the product relative to
other available products” and “if one uses time series data, one can include variables to control
for changes that take place over time.”)

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A Properly Specified Pass-Through Regression Model Demonstrates Ti hat Pass-Through
Rates Vary and Are Often below 100%.

133. Insum, Dr. Netz’s approach has at least the potential to over-estimate pass-
through rates because she compares widely different products and because she does not
account for trend changes in market conditions. I mitigate both these deficiencies and re-
estimate pass-through rates. Specifically, I fully control for differences between

133

products, ~~ and I also control for the decline in the prices of products over time due to

declining industry demand and the general tendency of suppliers to reduce the price of

older models.!*4

134. When additional variables to control for differences in product characteristics
across CRT finished product models and differences in market conditions over time are
added to Dr. Netz’s pass-through regressions, the resulting estimates of average pass-
through rates are often below 100% and reveal substantial heterogeneity in pass-through

rates across manufacturers and re-sellers of CRT finished products.

135. Exhibit 25A presents the estimated average pass-through rate for each

manufacturer and re-seller in my analysis.'*° Evident in this table is the fact that the

133 A standard econometrics methodology used when unobserved differences between products
need to be controlled for in a “panel data” setting (i.e., in a dataset that has multiple products for
multiple periods) is to include in the regression fixed effects (or “dummy variables”) for
individual products, as I do in my pass-through regressions (described in more detail in the
Appendix). This does not require any additional data and ensures that demand differences
between products are appropriately controlled for. See, Davis, P., & Garcés, E. (2010).
Quantitative Techniques for Competition and Antitrust Analysis. Princeton University Press.
Section 2.2.3.1.

"47 include a time trend variable in my pass-through regressions (described in more detail in the
Appendix). In her hedonic price analyses, Dr. Netz includes similar time trend variables in order
to control for conditions that change over time. (Netz Report, pp. 68-9, footnote 222.) Simply
controlling for time trends in Dr. Netz’s regressions and making no other change to Dr. Netz’s
specification (and hence not fully controlling for product characteristics) produces pass-through
estimates that are qualitatively similar to those in Exhibit 25A.

135 Exhibit 25A lists 21 entities:

(footnote continued ...)

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average pass-through rate differs considerably across individual retailers and

manufacturers. As further illustrated in Exhibit 26, Pe

a i ° The differences in the estimated average pass-through rates across

manufacturers and re-sellers likely reflect differences in their business models and

strategies.

136. Uniformity in pass-through rates is even less likely if individual
resellers/manufacturers do not uniformly pass-through cost increases to all (or most) of
their customers, for all (or most) products and at all (or most) times. The regression
results presented in Exhibit 25A only describe average pass-through rates for individual
entities. As noted earlier, regressions such as these can mask considerable heterogeneity

in pass-through decisions made by resellers and manufacturers.

137. Anexample of this heterogeneity can be seen in the context of a in Exhibit

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.. footnote continued)

= The entities | include in my pass-through analysis are nearly the same ones that

were included in Dr. Netz’s analysis, which makes it possible to compare the pass-through rates

estimated by our respective approaches.

136 Statistical significance was assessed at the 5% level.
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a Other retailers’ data also indicate non-uniform pass-through rates across models.

138. Some of the heterogeneity in pass-through rates for the various products of a
given retailer or manufacturer likely stems from differences in market conditions across
different product categories and from time-varying practices (such as using certain
models of TVs as loss leaders at a retailer). The heterogeneity may also be due to
limitations in available data (e.g., lack of information about the rebates paid or received
by a retailer). In either case, pass-through rates cannot reliably be estimated using a
regression-based formulaic approach that pools together all products and time periods,
and further disaggregation beyond the product-level disaggregation shown in Exhibit 27A
is likely necessary. Individualized inquiries would be required to determine whether a
particular purchase on a particular day from a particular retailer was impacted by the

alleged cartel.

Dr. Netz’s “Top-and-Bottom” Analysis of U.S. Pass-Through Rates Is Inherently Flawed
for, among Other Reasons, Using Global CRT Prices.

139. In addition to attempting to estimate pass-through rates at a particular level of the
vertical distribution chain for CRTs, Dr. Netz also attempts to estimate the overall pass-
through rate from the top of the chain to the bottom. Specifically, in what she refers to as
her “top-and-bottom” analysis, Dr. Netz examines the relationship between (i) a sample

of US. online retail CRT TV prices IEE

and (ii) the average global price of CRTs sold in the same period to TV manufacturers

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located throughout the word

140. However, Dr. Netz has no way of knowing which CRTs sold globally are used in
TVs sold in the U.S.!”° As explained in Section III.A, prices of CPTs sold to U.S.-based _
customers did not move in tandem with global prices for CPTs. Dr. Netz finds that there
is a relationship between global CPT prices and the sample of U.S. online CRT TV prices
only because of the two errors in her approach explained above. Correcting or at least
mitigating these errors using my approach to estimating pass-through (as described
above) leads to the conclusion that there is, on average, no discernible response in U.S.

online CRT TV prices to Dr. Netz’s measure of average global CPT prices.'*! This is

‘4° Dr. Netz also presents no evidence that the sample of online prices
is representative of all U.S. online CRT TV prices, much less all U.S. retail

CRI TV prices.

‘4! The dependent variable in my regression (and in Dr. Netz’s top-and-bottom regression) is the
U.S. online price for a sample of CRT TV models a and the
independent variables are the contemporaneous average global price for CPTs of the same size,
roduct fixed effects, and a time trend

When compiling the dataset for her top-and-bottom regression, Dr. Netz mistakenly matches

CPTs of a given size from the Defendants’ sales data with CRT TVs of the same size from the
DisplaySearch data.

(footnote continued ...)

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likely due to the lack of correlation between global CPT prices and North American CPT

prices, on average, and/or due to the lack of pass-through at some point in the distribution

chain.

Dr. Netz’s “Top-to-Bottom” Analysis Is Also Flawed, as a Proper Regression Analysis

Demonstrates.

141. In addition to her “top-and-bottom” pass-through estimate, Dr. Netz also provides

what she terms a “top-to-bottom” pass-through estimate,

142. Dr. Netz’s top-to-bottom analysis suffers from the same flaws as the rest of her

pass-through analyses. For instance, they over-estimate average pass-through rates.

_. footnote continued)

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Correcting for flaws in Dr. Netz’s approach to estimating average pass-through rates

(described above) produces lower estimates of average pass-through rates along the

distribution chain than the rates estimated by Dr. Netz. ee

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In her top-to-bottom analysis, Dr. Netz uses somewhat different datasets than in her analysis

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Establishing Impact and Estimating Damages
Dr. Netz’s Proposed Methodology for Estimating the But-For Price for CRTs.

145. As discussed in Section III.B above, Dr. Netz does not estimate but-for CRT
prices. Consequently, there is no basis in her report from which to conclude which CRT
prices — if any — were above the competitive level. As discussed above, this is

particularly true for CRT prices that were below the alleged target price, which is the case |
for the majority of transactions in Dr. Netz’s target price analysis. ee

146. Although she does not estimate but-for prices, Dr. Netz nonetheless asserts that it
is possible to do so using common evidence and methods.'”” To support this view, Dr.
Netz identifies four different methods that she describes as reasonable and feasible
approaches to estimating but-for CRT prices.'°° However, Dr. Netz describes these
approaches at a very. general level and fails to establish that any of them are, in fact,

feasible or that they could be used to obtain reliable estimates of but-for CRT prices.

Dr. Netz’s Proposed “Economic Determinants” Approach Fails Because Market

Conditions Were Dramatically Different before and after the Proposed Class Period.

147. The first damages approach proposed by Dr. Netz (which she refers to as.the
“economic determinants method”) uses the period prior to the class period and the period
after the class period as benchmark time periods to estimate the relationship between
CRT prices and their economic determinants (such as personal income and prices of

related goods, raw materials, and labor costs) under competitive conditions.’ The

“i

149 Netz Report, p. 84.

150 1g,

'5! Netz Report, pp. 85-88.

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estimated relationship would be used to estimate but-for CRT prices in the class period

based on economic conditions during that time.

148. Such an approach could produce a reasonable estimate of but-for CRT prices only
if CRT market conditions before the beginning of the class period (i.e., before March
1995) and after the class period (i.e., after November 2007) were similar to CRT market
conditions during the class period or if any important differences in market conditions
could be reflected in measurable and identifiable variables with quantified variations.
Otherwise, if conditions were materially different in ways that could not be accurately
reflected in the analysis, then the years before and after the class period would provide no
guidance to estimating but-for prices during the class period. Despite the importance of
demonstrating that this condition is satisfied before employing the “economic

determinants method,” Dr. Netz’s report is silent on this issue.

149. In fact, conditions were materially different between these time periods. Prior to
1995, LCD and plasma technologies were costly niche technologies, but during the class
period their prices dropped dramatically and they mostly displaced CRTs. a

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explained earlier in this report, CRT prices sharply declined in part as a result of this
competitive pressure during the class period. Given the dramatic differences in the
competitive conditions in the pre-1995 period, pricing in that period does not provide a
basis for estimating but-for prices in the class period, and the same is true for the period

after 2007.'*°

‘ie

'53 Dr. Netz proposes to control for changes in marketplace conditions that could affect demand
for CRTs, but none of the data that she propose to use for this purpose — U.S. personal income,
U.S. GDP, U.S. employment data, and a data series on “global economic activity” (Netz Report,
p. 87) — would account for changes in the impact that competition from LCD and plasma
technologies had on demand for CRTs.

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Dr. Netz Has Not Established that Her “Benchmark Products” Are Appropriate
Benchmarks.

150. The second approach proposed by Dr. Netz to estimate putative antitrust
overcharges relies on using benchmark products instead of benchmark periods.
Specifically, Dr. Netz proposes to use VHS recorders and portable CD players as
benchmarks because they “exhibit scale sensitive manufacturing, are precision electronics

4 .
154 and because certain firms

devices, and were replaced by alternative technologies...
that manufactured these devices also manufactured CRTs.» Dr. Netz proposes to
compare the profit margins that vendors earned from the sale of portable CD players and
VHS recorders with the profit margins Defendants earned from the sale of CRTs; any

difference in profit margins would be attributed to the impact of the alleged CRT cartel.

151. Asathreshold matter, Dr. Netz’s benchmark approach assumes that Defendants’
CRT operations earned higher profit margins than manufacturers of VHS recorders and
portable CD players. If Defendants’ CRT profit margins were, in fact, lower than the
profit margins earned by most manufacturers of VHS recorders and portable CD players,
then the benchmark products proposed by Dr. Netz would imply that the alleged cartel
was ineffective. Since Dr. Netz has not offered even an initial comparison of profit
margins across these industries, she has failed to provide any evidence that her proposed

benchmark products’ profits satisfy this threshold requirement.

152. Even if Defendants’ CRT profit margins were higher than profit margins earned
by most manufacturers of VHS recorders and portable CD players, the difference may
have been due to many factors other than the alleged cartel. For example, empirical
studies have demonstrated that the magnitude of scale economies and market structure in

an industry typically influence profits in that industry.’*° In order to establish that VHS

'*4 Netz Report, p. 90
155 Tq

'°6 “Measures of scale economies or capital requirements tend to be positively correlated with
industry-level accounting profitability.” Schmalensee, R. (1989). Inter-Industry Studies of

(footnote continued ...)

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recorders or portable CD players could serve as a proper benchmark for CRTs, Dr. Netz
would need to establish that economies of scale (among other factors) were comparable
in magnitude across VHS recorders or portable CD players and CRTs. She has not even —
attempted to do so. Moreover, because Dr. Netz proposes to compare CRTs to other
products that were in decline, her comparison would be highly sensitive to the precise
point of each product’s decline phase that she would compare as well as the rate of
decline. Comparing CRT manufacturers’ profits to a point too late in the decline of VHS
recorders or portable CD players could lead to an underestimate of but-for CRT profit
margins. Yet Dr. Netz offers no explanation as to how she would determine the proper
comparison point. In sum, Dr. Netz has not established that VHS recorders and portable

CD players, nor any other products, can serve as appropriate benchmarks.

Dr. Netz’s “Market Power” Approach Fails Because the Critical Assumption, that the
Defendants Acted as a Single Firm, Cannot Be Made for the CRT Market.

153. The third approach proposed by Dr. Netz assumes that the Defendants obtained
additional market power through the alleged collusion and involves estimating the
reduction in market power each Defendant would face in the absence of such collusion.
In particular, Dr. Netz proposes to measure how much lower each firm’s market power
would have been absent the alleged collusion by estimating how much higher its demand
elasticity would have been in the but-for world. She would then translate the estimated
difference in demand elasticity into a but-for price using theoretical Lerner Index

relationships that by equations relate a firm’s profit margin to its demand elasticity.'*”

154. This approach hinges on the assumption that the Defendants acted as a single

firm. In particular, Dr. Netz proposes to estimate the elasticity of demand facing the

(... footnote continued)

Structure and Performance. In R. Schmalensee and R. Willig (Eds.), Handbook of Industrial
Organization, Elsevier. p. 978.

'57 Netz Report, p. 96.

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alleged cartel based on the collective market of its alleged members.’ If the alleged
cartel did not function equivalently to a single firm, the approach proposed by Dr. Netz
would overstate its market power (and hence distort estimates of but-for prices). This
was explained in the very article that Dr. Netz cites in discussing her approach.
If the cartel is able to enforce its cartel price and output allocation scheme
among its members, it will behave as if it were a single large firm and the
Lerner index will measure its market power. If, as is more likely, the cartel

agreement is imperfectly enforced, output will tend to be greater and price
lower, and the Lerner index will overstate the cartel's market power.'®

155. Even ifthe alleged cartel managed to elevate prices of some CRTs, it does not
follow that it elevated prices of all CRTs to the level that a single firm controlling all of
the alleged cartel members’ production and prices would charge. The economics
literature on coordination among competitors recognizes that even successful cartels may
not achieve the joint profit maximization that Dr. Netz’s proposed model assumes, for

example, due to firms having imperfect or asymmetric information.'”! ie

'S8 Td. Dr. Netz also proposes to measure the Defendants’ actual and but-for demand elasticities
using their price-cost margins (/d., p. 96-97), but the logic of this approach is completely
circular. In particular, the whole purpose of estimating each Defendant’s but-for demand
elasticity would be to estimate its but-for price. Thus, if Dr. Netz already knew each
Defendant’s but-for price and cost, there would be no need to estimate its but-for demand
elasticity.

'S? Tt ig worth noting that Dr. Netz refers to the use of “market shares,” but she has not offered an
opinion on the relevant antitrust market(s). To the extent that the relevant markets are narrower
than a single worldwide market including all CRTs — which is highly likely given the evidence
presented in Section III.A above — Dr. Netz would need to conduct her analysis separately for
each relevant market.

160 Landes, W. M., & Posner, R. A. (1981). Market Power in Antitrust Cases. Harvard Law
Review, volume 9(5). p. 951.

101 See, e.g., Green, E. J., & Porter, R. H. (1984). Noncooperative Collusion under Imperfect

Price Information. Econometrica. Vol. 52, No. 1. pp. 87-100. See also Athey, S., & Bagwell, K.

(2001). Optimal Collusion with Private Information. The RAND Journal of Economics, Vol. 32,
. 428-465.

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a Because this assumption is required for Dr. Netz’s proposed approach,
the approach would systematically overstate the market power of the alleged cartel and

consequently would also overstate the alleged overcharge.

Dr. Netz’s “Simulated Merger” Approach Fails Because the Critical Assumption, that
the Defendants Acted as a Single Firm, Cannot Be Made for the CRT Market and
Because Dr. Netz Has Not Explained How She Would Construct Such a Model.

156. The fourth approach proposed by Dr. Netz for estimating the alleged antitrust
overcharges is to construct a model of the CRT industry and then simulate the price
effects of the alleged cartel by simulating a merger among all Defendants.’ More
precisely, since the IPP class alleges that Defendants acted to maximize joint profits
during the class period, Dr. Netz would use her proposed approach to simulate the impact
of having the Defendants act independently. As an initial matter, Dr. Netz’s proposed
simulation approach suffers from the same flaws as the previous approach, namely that it
assumes that the alleged cartel members acted as a single, merged firm despite
overwhelming evidence that Defendants more often than not deviated from the allegedly

agreed upon prices.

157. Additionally, Dr. Netz has not established that her proposed simulation approach
can be implemented in the CRT context because she has not described how she would
construct a model that would be consistent with material features of the CRT
marketplace. The economics literature on simulation methods has long recognized that

results from these models are highly sensitive to the particulars of a marketplace, and

'© Netz Report, pp. 92-96,

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such models have to be carefully customized to the realities of the marketplace. These
challenges are described by one economics textbook as follows:
Merger simulation exercises rely heavily on structural assumptions about
the nature of consumer demand, the nature of costs, firms’ objectives and
behavior, and the nature of equilibrium — the latter in the sense that
differing firm objectives must be reconciled. Ensuring that their
assumptions are sufficiently consistent with reality is an essential
component of a well-done piece of simulation work. In particular, the
choice of strategic variables and the importance of static versus dynamic
effects must be evaluated so that the model incorporates the actual drivers

of market outcomes. The promise of merger simulation models is not easy
to deliver on within statutory time limits.’

158. To take just one example of such complexity, merger simulation models are
highly sensitive to assumptions about entry, exit, and product repositioning by sellers. '™*
During the class period, many CRT manufacturers exited the industry because of
declining demand for CRT TVs and monitors. This process of exit would likely have
been accelerated if, as Plaintiffs allege, CRT prices would have had declined even faster
in the but-for world than they did in the actual world. A merger simulation model would
be highly sensitive to the assumptions that Dr. Netz would make about which CRT
companies would have exited (or how they would have re-positioned their products), and
yet she provides no discussion of how she would determine the industry structure and the
timing of exit and product repositioning in the CRT but-for world. At least of equal

importance to the modeling would be the treatment of the entry and expansion of the new

163 Davis, P., & Garcés, E. (2010). Quantitative Techniques for Competition and Antitrust
Analysis. Princeton University Press. pp. 434-435.

'©4 The sensitivity of merger simulations to the composition of suppliers has been noted by

economists. See, e.g., Leonard, G. K., & Zona, D. J. (2008). Simulation in Competitive Analysis.
Competition Law and Policy, ABA Section of Antitrust Law, (Issue 2). pp. 1420-1421. “Merger
simulations are typically performed assuming that the products and the products’ characteristics
are fixed. Yet, repositioning of existing products or entry by new firms, in response to a post-
merger price increase, may in part eliminate any such increase at least in the long run. In this
sense, the typical merger simulation predicts the upper bound on long-run competitive effects.
On the other hand, the merger may affect the entry and expansion strategies of competitors post-
merger. In principle, repositioning or entry could be built into the merger simulation by
specifying a more complex model, although this normally has not been done in practice to date.”

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LCD and plasma technologies and the firms marketing them during the pertinent time-
frame. The model would have to specify when the relevant market(s) expanded to include
the new technologies and what were the own-price and cross-price elasticities of demand
for the different stages of competition between TVs and monitors using the old and new

technologies.

159. Despite the sensitivity of merger simulations to the model’s many assumptions,
Dr. Netz has not laid out any of the assumptions she would make if she were to attempt to
implement such an approach. Asa result, Dr. Netz has not provided any support for the
view that she would be able to construct a simulation model to reliably predict but-for

prices.

160. Insum, Dr. Netz describes her methods for estimating but-for prices at a very
general level and fails to establish that any of them are, in fact, feasible or that they could

be used to obtain reliable estimates of but-for CRT prices.

Conclusion

161. Overall, it is my conclusion that the fact of impact on all (or almost all) of the
members of the proposed IPP class from the alleged collusion among the defendant CRT
producers cannot be established by means of common evidence. Prices of the different
CRT finished products and CRTs changed very differently from each other from month
to month, quarter to quarter and over the span of the class period, and this heterogeneity
was due to substantially different market forces that applied to various CRT product
segments at various points during the class period. Moreover, pass-through rates were not
uniform across various stages of the long and complex distribution channels and a
significant fraction of cost changes may not have been passed on to end-users at all by
some manufacturers and re-sellers. The substantial variation in the rate at which costs
were passed through (if at all) is another reason why the substantial diversity of pricing
levels and movements that is apparent from the pricing data shows that individualized
inquiries would be necessary to assess whether most of the members of the proposed

class were impacted by the alleged collusion.

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Appendix: Data and Methods Used in Pass-Through Analyses

A. Introduction

162. This appendix describes the regression specifications and underlying data
construction for Exhibits 25-27. Sections VII.B and VII.C describe the baseline
regression model and data construction for all pass-through regression analyses. Sections
VIL.D through VII.G discuss the regression results, robustness checks, the regression

specification used in Exhibit 27, and entities excluded from the analysis, respectively.

The Baseline Regression Model
163. In order to generate the pass-through estimates listed in Exhibit 25, a separate
regression analysis was performed for each entity (retailer and manufacturer). The

baseline regression specification for each entity is:
(1) pricey, = «x + B cost, + y trend; + Dye 6; Dj + Eit,

where

entity (e.g., a particular model of TV’s average retail price ina
month),

a) price, represents the average sale price of product 7 in month ¢ at a bin:

b) coSt represents the average cost of product 7 in month ¢ (either wholesale
procurement price for retailers, or a measure of unit production cost for
manufacturers),

c) trendy; is a linear time trend variable that increase by 1 each calendar month,
adjusted for the product’s overall price level,’© and :

'©5 The trend variable acts as a control for general marketplace trends and the tendency of
suppliers of CRT finished products to reduce the price of older models. I adjust (multiply) the
trend variable for each product by the product’s lifetime average price (for that retailer) because
prices of more expensive products tended to decline more rapidly over time (in dollar terms) than
prices of cheaper products. Thus, for example, in month 1 when the trend variable equals 1, the
adjusted trend variable for a product equals the average lifetime price of that product times 1. In
month 2, this variable equals twice the average lifetime price and so on. As discussed below, the
results are robust to different formulations of the trend variable.

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d) D; for j =2, ..., N are a series of N-1 dummy variables, where D; equals 1 for
product j =i and zero otherwise (product fixed effects).
e) Robust standard errors were used in the estimation to account for
heteroskedasticity.

164. The regressions are weighted by sales quantity using analytical weights (except
a
Specifically, product-month pairs that had higher sale quantities were given more weight
in the regression. By contrast, Dr. Netz uses frequency weights. Frequency weights are an
alternative method of assigning more weight to observations that have higher sales
quantities (by creating a duplicate observation for each unit sold in a transaction).
Frequency weights and analytical weights produce identical coefficient estimates, but
frequency weights lead to artificially lower estimates of standard errors. As a result, tests

of statistical significance are more conservative when using analytical weights.

C. Data Construction

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Data Filters

167. The same data preparation and filters Dr. Netz used to compile the datasets used
in the analyses reported in Exhibit 34 of her report were used in my analyses reported in

Exhibits 25-27.'°

Identifying CRT Products and Product Characteristics in the Sales Data

168. Most entities provided data limited mostly to products identified as CRTs and
sold in the United States. Remaining non-CRT products were identified and removed
based on the presence of certain keywords (e.g., LCD, Plasma, TFT) in the product
description or classification fields in the data. Non-US. sales were identified and

removed based on ship-to or bill-to address, where possible.

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169. Characteristics associated with a given product (e.g., flat screen, HDTV, VCR/TV
combo) were identified based on the product description fields included in the data.
When the description field is inconsistent across different records for the same model

number, the most prevalent classification was used to classify the product’s attributes.

Granularity and Frequency of the Data

170. Exhibit 28A details the level of aggregation (e.g., transaction level, weekly or
monthly average) associated with each entity’s produced sales data. Prior to estimating
pass-through rates, the data for each entity were aggregated by product and month;
weighted average prices and costs for each product and month were calculated using the
quantity sold (or procured) as weights. A product was uniquely identified by a model or

item number.'® !7°

171. Exhibit 28A also distinguishes between what I refer to as “synchronized” and
“unsynchronized” datasets. For synchronized datasets, each record in the sales data
includes the (i) transaction (or monthly) price (or revenue) and quantity, and (ii) some
measure of the procurement or manufacturing cost associated with the product. For
unsynchronized datasets, the procurement cost data and sales data were produced in
separate files. In my analysis, these files were separately aggregated by product and

month and then combined.'7"'”

169

‘7° 1£ a particular model or item number reappeared in the data a year or more after it had been
last sold, it was classified as a new product.

' Sales data for a particular product and month were excluded if there was no cost data for that
product and month and vice versa.

'? For unsynchronized data, the level to which Dr. Netz aggregated the procurement cost data
before combining it with the sales data varied by entity. Exhibit 28A identifies the level of
aggregation she employed for each unsynchronized dataset.

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D. Regression Results and Pass-through Estimates

172. The regression coefficients, R-squared and number of observations are presented

in Exhibit 25

E. Robustness Checks
173. Ihave performed a number of robustness checks on the model specifications used
for the results reported in Exhibit 25A. In each case, using the alternative specification

produces qualitatively similar results:

a) The baseline results use monthly frequency data. I have also used data at the
product-quarter (rather than product-month) level.

b) Data at the transactions level (rather than product-month level).

c) Regressions without using weights.

d) Regressions with frequency weights (the same weights used in Exhibit 34 of
Dr. Netz’s report).

e) In addition, the regressions were estimated with (a) a linear time trend
(unadjusted for each product’s average price level), (b) time (quarterly) fixed
effects, and (c) scaled log of time trend.

F. Specification for Exhibit 27
174. A separate regression analysis was performed for each entity. The regression

specification is given by:
(2) price, =% + YL, BDjcost;, + y trendy, + YP. 6jD; + eit,
Where

a) price; represents the average sale price of product 7 in month ¢ (e.g., the retail

price of a TV a).

3 For convenience, unless otherwise noted, I use the term “statistically different from X” in this
appendix to indicate that an estimate is statistically significantly different from X at the 5%
confidence level.

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b) cost; represents the average cost of product 7 in month ¢ (either wholesale
price for retailers, or a measure of unit production cost for manufacturers)
when /=i,
c) trend; represents the number of calendar months since the first month for

which there are observations in the data, adjusted for the product’s overall
price level, !”° and

d) D; for j = 2, ..., N are a series of N-] dummy variables, where D; equals 1 for
product j=i and zero otherwise (product fixed effects).

e) Robust standard errors were used in the estimation, to account for
heteroskedasticity.

175. The regressions were weighted by sales quantity using analytical weights.
Specifically, product-month pairs that had larger sale quantities were given more weight
in the regression. As noted in Section VII.B above, Dr. Netz uses frequency weights,
which artificially lead to lower estimates of the standard errors and thus produce less

conservative tests of statistical significance.

G. Entities Excluded from Pass-Through Analyses Reported in Exhibits 24-26
176. The following entities were excluded from the analyses reported in Exhibit 24-26

for the reasons detailed below:

a)

b)

™ The trend variable acts as a control for general marketplace trends and the tendency of
suppliers of CRT finished products to reduce the price of older models. J multiply the trend
variable for each product by the product’s general price level because prices of more expensive
products tended to decline more rapidly over time (in dollar terms) than prices of cheaper
products. As discussed above, the results are robust to different formulations of the trend
variable.

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I declare under penalty of perjury that the foregoing is true and correct to the best of my
knowledge and belief. This declaration was executed on the 17" day of December 2012 in

Princeton, New Jersey.

(Cet-aT )Lle

Robert D. Willig

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Appendix A

Curriculum Vitae

Name: Robert D. Willig

Address: 220 Ridgeview Road, Princeton, New Jersey 08540
Birth: 1/16/47; Brooklyn, New York

Marital Status: Married, four children

Education: Ph.D. Economics, Stanford University, 1973

Dissertation: Welfare Analysis of Policies
Affecting Prices and Products.
Advisor: James Rosse
M.S. Operations Research, Stanford University, 1968.
A.B. Mathematics, Harvard University, 1967.
Professional Positions:

Professor of Economics and Public Affairs, Princeton University, 1978-.

Principal External Advisor, Infrastructure Program, Inter-American Development Bank, 6/97-
8/98.

Deputy Assistant Attorney General, U.S. Department of Justice, 1989-1991.
Supervisor, Economics Research Department, Bell Laboratories, 1977-1978.

Visiting Lecturer (with rank of Associate Professor), Department of Economics
and Woodrow Wilson School, Princeton University, 1977-78 (part time).

Economics Research Department, Bell Laboratories, 1973-77.

Lecturer, Economics Department, Stanford University, 1971-73.

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Other Professional Activities:

ABA Section of Antitrust Law Economics Task Force, 2010-2012
Advisory Committee, Compass Lexecon 2010 -,

OECD Advisory Council for Mexican Economic Reform, 2008 -2009,
Senior Consultant, Compass Lexecon, 2008 -,

Director, Competition Policy Associates, Inc., 2003-2005

Advisory Board, Electronic Journal of Industrial Organization and Regulation Abstracts, 1996-.

Advisory Board, Journal of Network Industries, 2004-.

Visiting Faculty Member (occasional), International Program on Privatization and Regulatory
Reform, Harvard Institute for International Development, 1996-2000.

Member, National Research Council Highway Cost Allocation Study
Review Committee, 1995-98.

Member, Defense Science Board Task Force on the Antitrust Aspects of Defense Industry
Consolidation, 1993-94.

Editorial Board, Utilities Policy, 1990-2001
Leif Johanson Lecturer, University of Oslo, November 1988.
Member, New Jersey Governor's Task Force on Market-Based Pricing of Electricity, 1987-89.

Co-editor, Handbook of Industrial Organization, 1984-89.

Associate Editor, Journal of Industrial Economics, 1984-89.

Director, Consultants in Industry Economics, Inc., 1983-89, 1991-94.
Fellow, Econometric Society, 1981-.
Organizing Committee, Carnegie-Mellon-N.S.F. Conference on Regulation, 1985.

Board of Editors, American Economic Review, 1980-83.

Nominating Committee, American Economic Association, 1980-1981.

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Research Advisory Committee, American Enterprise Institute, 1980-1986.
Editorial Board, M.I.T. Press Series on Government Regulation of Economic
Activity, 1979-93.

Program Committee, 1980 World Congress of the Econometric Society.
Program Committee, Econometric Society, 1979, 1981, 1985.

Organizer, American Economic Association Meetings: 1980, 1982.

American Bar Association Section 7 Clayton Act Committee, 1981.

Principal Investigator, NSF grant SOC79-0327, 1979-80; NSF grant 285-6041, 1980-82; NSF
grant SES-8038866, 1983-84, 1985-86.

Aspen Task Force on the Future of the Postal Service, 1978-80.

Organizing Committee of Sixth Annual Telecommunications Policy Research
Conference, 1977-78.

Visiting Fellow, University of Warwick, July 1977.

Institute for Mathematical Studies in the Social Sciences, Stanford University, 1975.

Published Articles and Book Chapters:

"Competition and innovation-driven inclusive growth" (with Mark Dutz, Ioannis Kessides and
Stephen O’Connell), in Promoting Inclusive Growth: Challenges and Policies, Luiz de Mello and
Mark Dutz (eds.), OECD, 201 1.

"Unilateral Competitive Effects of Mergers: Upward Pricing Pressure, Product Quality, and
Other Extensions,” Review of Industrial Organization (2011) 39:19-38.

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Antitrust Revolution (Fifth Edition), John Kwoka and Lawrence White (eds.), 2009.

“The 1982 Department of Justice Merger Guidelines: An Economic Assessment,” (with J.
Ordover) reprinted in Economics of Antitrust Law, Benjamin Klein (ed.), Edward Elgar, 2008.

“On the Antitrust Treatment of Production Joint Ventures,” (with Carl Shapiro) reprinted in
Economics of Antitrust Law, Benjamin Klein (ed.), Edward Elgar, 2008.

“Consumer’s Surplus Without Apology,” reprinted in Applied Welfare Economics, Richard
Just, Darrel Hueth and Andrew Schmitz (eds.), Edward Elgar, 2008; reprinted in Readings in

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Social Welfare: Theory and Policy, Robert E. Kuenne (ed.), Blackwell, 2000, pp. 86-97;
reprinted in Readings in Microeconomic Theory, M. M. La Manna (ed.), Dryden Press, 1997,
pp. 201-212.

“The Risk of Contagion from Multi-Market Contact,” (with Charles Thomas), The International
Journal of Industrial Organization, Vol. 24, Issue 6 (Nov. 2006), pp 1157 — 1184.

“Pareto-Superior Nonlinear Outlay Schedules,” reprinted in The Economics of Public Utilities,
Ray Rees (ed.), Edward Elgar, 2006; reprinted in The Economics of Price Discrimination, G.
Norman, (ed.), Edward Elgar, 1999.

“Economic Effects of Antidumping Policy,” reprinted in The WTO and Anti-Dumping, Douglas
Nelson (ed.), Edward Elgar, 2005.

“Merger Analysis, Industrial Organization Theory and the Merger Guidelines,” reprinted in
Antitrust and Competition Policy, Andrew Kleit (ed.) Edward Elgar, 2005

“Antitrust Policy Towards Agreements That Settle Patent Litigation,” (with John Bigelow),
Antitrust Bulletin, Fall 2004, pp. 655-698.

“Economies of Scope,” (with John Panzar), reprinted in The Economics of Business Strategy,
John Kay (ed.), Edward Elgar, 2003.

“Panel on Substantive Standards for Mergers and the Role of Efficiencies,” in International
Antitrust Law & Policy, Barry E. Hawk (ed.), Juris Publishing, 2003.

“Practical Rules for Pricing Access in Telecommunications,” (with J. Ordover) in Second
Generation Reforms in Infrastructure Services , F. Basanes and R. Willig (eds.), Johns Hopkins
Press, 2002. :

“Comments on Antitrust Policy in the Clinton Administration,” in American Economic Policy in
the 1990s, J. Frankel and P. Orszag (eds.), MIT Press, 2002.

“Entrepreneurship, Access Policy and Economic Development: Lessons from Industrial
Organization,” (with M. Dutz and J. Ordover), European Economic Review, (44)4-6 (2000), pp.
739-747.

"Public Versus Regulated Private Enterprise," reprinted in Privatization in Developing Countries,

P. Cook and C. Kirkpatrick (eds.), Edward Elgar, 2000.

“Deregulation v. the Legal Culture: Panel Discussion,” in Is the Telecommunications Act of
1996 Broken?, G. Sidak (ed.), AEI Press, 1999.

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“Economic Principles to Guide Post-Privatization Governance,” in Can Privatization Deliver?
Infrastructure for Latin America, R. Willig co-editor, Johns Hopkins Press, 1999.

“Access and Bundling in High-Technology Markets,” (with J. A. Ordover), in Competition,
Innovation and the Microsoft Monopoly: Antitrust in the Digital Marketplace, J. A. Eisenach and
T. Lenard (eds.), Kluwer, 1999.

“Competitive Rail Regulation Rules: Should Price Ceilings Constrain Final Products or Inputs?,”
(With W. J. Baumol), Journal of Transport Economics and Policy, Vol. 33, Part 1, pp. 1-11.

“Economic Effects of Antidumping Policy,” Brookings Trade Forum: 1998, 19-41.

“Interview With Economist Robert D. Willig,” Antitrust , Vol. 11, No. 2, Spring 1997, pp.11-15.

“Parity Pricing and its Critics: A Necessary Condition for Efficiency in Provision of Bottleneck
Services to Competitors,” (with W. J. Baumol and J. A. Ordover), Yale Journal on Regulation,
Vol. 14, No. 1, Winter 1997, pp. 145-164.

“Restructuring Regulation of the Rail Industry,” (with Ioannis Kessides), in Private Sector,
Quarterly No. 4, September 1995, pp. 5 - 8. Reprinted in Viewpoint, October, 1995, The World
Bank. Reprinted in Private Sector, special edition: Infrastructure, June 1996.

“Competition and Regulation in the Railroad Industry,” (with Ioannis Kessides), in Regulatory
Policies and Reform: A Comparative Perspective, C. Frischtak (ed.), World Bank, 1996.

"Economic Rationales for the Scope of Privatization,” (with Carl Shapiro), reprinted in The
Political Economy of Privatization and Deregulation, E. E. Bailey and J. R. Pack (eds.), The
International Library of Critical Writings in Economics, Edward Elgar Publishing Co., 1995, pp.
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"Weak Invisible Hand Theorems on the Sustainability of Multi-product Natural Monopoly,”
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Invited Conference Presentations:

Georgetown Center for Business and Public Policy, Conference on the Evolution of Regulation
"Reflections on Regulation" 2011

Antitrust Forum, New York State Bar Association
"Upward Price Pressure, Market Definition and Supply Mobility" 2011

American Bar Association, Antitrust Section, Annual Convention
"The New Merger Guidelines' Analytic Highlights" 2011

OECD and World Bank Conference on Challenges and Policies for Promoting Inclusive Growth
"Inclusive Growth From Competition and Innovation" 2011

Villanova School of Business Executive MBA Conference
"Airline Network Effects, Competition and Consumer Welfare" 2011

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NYU School of Law Conference on Critical Directions in Antitrust
"Unilateral Competitive Effects"

2010

Conf. on the State of European Competition Law and Enforcement in a Transatlantic Context

"Recent Developments in Merger Control”

Center on Regulation and Competition, Universidad de Chile Law School
"Economic Regulation and the Limits of Antitrust Law"

Center on Regulation and Competition, Universidad de Chile Law School
"Merger Policy and Guidelines Revision"

Faculty of Economics, Universidad de Chile
"Network Effects in Airlines Markets"

Georgetown Law Global Antitrust Enforcement Symposium
"New US Merger Guidelines"

FTI London Financial Services Conference
"Competition and Regulatory Reform"

NY State Bar Association Annual Antitrust Conference
“New Media Competition Policy”

Antitrust Law Spring Meeting of the ABA
“Antitrust and the Failing Economy Defense”

Georgetown Law Global Antitrust Enforcement Symposium
“Mergers: New Enforcement Attitudes in a Time of Economic Challenge”

Phoenix Center US Telecoms Symposium
“Assessment of Competition in the Wireless Industry”

FTC and DOJ Horizontal Merger Guidelines Workshop
“Direct Evidence is No Magic Bullet”

Northwestern Law Research Symposium: Antitrust Economics and Competition Policy
"Discussion of Antitrust Evaluation of Horizontal Mergers"

Inside Counsel Super-Conference
"Navigating Mixed Signals under Section 2 of the Sherman Act"

Federal Trade Commission Workshop on Unilateral Effects in Mergers
"Best Evidence and Market Definition"

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European Policy Forum, Rules for Growth: Telecommunications Regulatory Reform
“What Kind of Regulation For Business Services?” 2007

Japanese Competition Policy Research Center, Symposium on M&A and Competition Policy
“Merger Policy Going Forward With Economics and the Economy” 2007

_ Federal Trade Commission and Department of Justice Section 2 Hearings
“Section 2 Policy and Economic Analytic Methodologies” 2007

Pennsylvania Bar Institute, Antitrust Law Committee CLE
“The Economics of Resale Price Maintenance and Class Certification” 2007

Pennsylvania Bar Institute, Antitrust Law Committee CLE
“Antitrust Class Certification - An Economist’s Perspective” 2007

Fordham Competition Law Institute, International Competition Economics Training Seminar
“Monopolization and Abuse of Dominance” 2007

Canadian Bar Association Annual Fall Conference on Competition Law
“Economic Tools for the Competition Lawyer” 2007

Conference on Managing Litigation and Business Risk in Multi-jurisdiction Antitrust Matters
“Economic Analysis in Multi-jurisdictional Merger Control’ 2007

World Bank Conference on Structuring Regulatory Frameworks for Dynamic and Competitive
South Eastern European Markets

“The Roles of Government Regulation in a Dynamic Economy” 2006

Department of Justice/Federal Trade Commission Section 2 Hearings
“(Allegedly) Monopolizing Tying Via Product Innovation” 2006

Fordham Competition Law Institute, Competition Law Seminar
“Monopolization and Abuse of Dominance” 2006

Practicing Law Institute on Intellectual Property Antitrust
“Relevant Markets for Intellectual Property Antitrust” 2006

PLI Annual Antitrust Law Institute
“Cutting Edge Issues in Economics” 2006

World Bank’s Knowledge Economy Forum V
“Innovation, Growth and Competition” 2006

Charles University Seminar Series
“The Dangers of Over-Ambitious Antitrust Regulation” 2006

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NY State Bar Association Antitrust Law Section Annual Meeting

“Efficient Integration or Illegal Monopolization?” 2006
World Bank Seminar
“The Dangers of Over-Ambitious Regulation” 2005
ABA Section of Antitrust Law 2005 Fall Forum
“Is There a Gap Between the Guidelines and Agency Practice?” 2005
Hearing of Antitrust Modernization Commission
“Assessment of U.S. Merger Enforcement Policy” 2005
LEAR Conference on Advances in the Economics of Competition Law
“Exclusionary Pricing Practices” 2005
Annual Antitrust Law Institute
“Cutting Edge Issues in Economics” 2005
PRIOR Symposium on States and Stem Cells
“Assessing the Economics of State Stem Cell Programs” 2005
ABA Section of Antitrust Law — AALS Scholars Showcase
“Distinguishing Anticompetitive Conduct” 2005
Allied Social Science Associations National Convention
“Antitrust in the New Economy” 2005
ABA Section of Antitrust Law 2004 Fall Forum
“Advances in Economic Analysis of Antitrust” 2004
Phoenix Center State Regulator Retreat
“Regulatory Policy for the Telecommunications Revolution” 2004
OECD Competition Committee
“Use of Economic Evidence in Merger Control” 2004
Justice Department/Federal Trade Commission Joint Workshop
“Merger Enforcement” 2004
Phoenix Center Annual U.S. Telecoms Symposium
“Incumbent Market Power” 2003
Center for Economic Policy Studies Symposium on Troubled Industries
2003

“What Role for Government in Telecommunications?”

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Princeton Workshop on Price Risk and the Future of the Electric Markets
“The Structure of the Electricity Markets”

2003 Antitrust Conference
“International Competition Policy and Trade Policy”

International Industrial Organization Conference
“Intellectual Property System Reform”

ABA Section of Antitrust Law 2002 Fall Forum
“Competition, Regulation and Pharmaceuticals”

Fordham Conference on International Antitrust Law and Policy

“Substantive Standards for Mergers and the Role of Efficiencies”

Department of Justice Telecom Workshop

“Stimulating Investment and the Telecommunications Act of 1996”

Department of Commerce Conference on the State of the Telecom Sector

“Stimulating Investment and the Telecommunications Act of 1996”

Law and Public Affairs Conference on the Future of Internet Regulation
“Open Access and Competition Policy Principles”

Center for Economic Policy Studies Symposium on Energy Policy
“The Future of Power Supply”

The Conference Board: Antitrust Issues in Today’s Economy
“The 1982 Merger Guidelines at 20”

Federal Energy Regulatory Commission Workshop
“Effective Deregulation of Residential Electric Service”

IPEA International Seminar on Regulation and Competition
“Electricity Markets: Deregulation of Residential Service”
“Lessons for Brazil from Abroad”

ABA Antitrust Law Section Task Force Conference
“Time, Change, and Materiality for Monopolization Analyses’

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Harvard University Conference on American Economic Policy in the 1990s
“Comments on Antitrust Policy in the Clinton Administration”

Tel-Aviv Workshop on Industrial Organization and Anti-Trust
“The Risk of Contagion from Multimarket Contact”

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2001 Antitrust Conference
“Collusion Cases: Cutting Edge or Over the Edge?” 2001
“Dys-regulation of California Electricity” 2001

FTC Public Workshop on Competition Policy for E-Commerce
“Necessary Conditions for Cooperation to be Problematic” 2001

HIID International Workshop on Infrastructure Policy
“Infrastructure Privatization and Regulation” 2000

Villa Mondragone International Economic Seminar
“Competition Policy for Network and Internet Markets” 2000

New Developments in Railroad Economics: Infrastructure Investment and Access Policies
“Railroad Access, Regulation, and Market Structure” 2000

The Multilateral Trading System at the Millennium
“Efficiency Gains From Further Liberalization” . 2000

Singapore — World Bank Symposium on Competition Law and Policy
“Policy Towards Cartels and Collusion” 2000

CEPS: Is It a New World?: Economic Surprises of the Last Decade
“The Internet and E-Commerce” 2000

Cutting Edge Antitrust: Issues and Enforcement Policies
“The Direction of Antitrust Entering the New Millennium” 2000

The Conference Board: Antitrust Issues in Today’s Economy
° “Antitrust Analysis of Industries With Network Effects” 1999

CEPS: New Directions in Antitrust
“Antitrust in a High-Tech World” 1999

World Bank Meeting on Competition and Regulatory Policies for Development
“Economic Principles to Guide Post-Privatization Governance” 1999

1999 Antitrust Conference
“Antitrust and the Pace of Technological Development” 1999
“Restructuring the Electric Utility Industry” 1999
HID International Workshop on Privatization, Regulatory Reform and Corporate Governance

“Privatization and Post-Privatization Regulation of Natural Monopolies” 1999

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The Federalist Society: Telecommunications Deregulation: Promises Made,
Potential Lost?
“Grading the Regulators”

Inter-American Development Bank: Second Generation Issues In the Reform
Of Public Services

“Post-Privatization Governance”

“Issues Surrounding Access Arrangements”

Economic Development Institute of the World Bank -- Program on Competition Policy
“Policy Towards Horizontal Mergers”

Twenty-fifth Anniversary Seminar for the Economic Analysis Group of the Department of
Justice
“Market Definition in Antitrust Analysis”

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HIID International Workshop on Privatization, Regulatory Reform and Corporate Governance

“Infrastructure Architecture and Regulation: Railroads”

EU Committee Competition Conference — Market Power
“US/EC Perspective on Market Definition”

Federal Trade Commission Roundtable
“Antitrust Policy for Joint Ventures”

1998 Antitrust Conference
“Communications Mergers”

The Progress and Freedom Foundation Conference on Competition, Convergence, and the
Microsoft Monopoly °
Access and Bundling in High-Technology Markets

FTC Program on The Effective Integration of Economic Analysis into Antitrust Litigation
The Role of Economic Evidence and Testimony

FTC Hearings on Classical Market Power in Joint Ventures
Microeconomic Analysis and Guideline

World Bank Economists --Week IV Keynote
Making Markets More Effective With Competition Policy

Brookings Trade Policy Forum
Competition Policy and Antidumping: The Economic Effects

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University of Malaya and Harvard University Conference on The Impact of Globalisation and
Privatisation on Malaysia and Asia in the Year 2020
Microeconomics, Privatization, and Vertical Integration 1997

ABA Section of Antitrust Law Conference on The Telecommunications Industry
Current Economic Issues in Telecommunications . 1997

Antitrust 1998: The Annual Briefing
The Re-Emergence of Distribution Issues 1997

Inter-American Development Bank Conference on Private Investment, Infrastructure Reform and
Governance in Latin America & the Caribbean
Economic Principles to Guide Post-Privatization Governance 1997

Harvard Forum on Regulatory Reform and Privatization of Telecommunications in the Middle
East
Privatization: Methods and Pricing Issues 1997

American Enterprise Institute for Public Policy Research Conference
Discussion of Local Competition and Legal Culture 1997
Harvard Program on Global Reform and Privatization of Public Enterprises

“Infrastructure Privatization and Regulation: Freight” 1997

World Bank Competition Policy Workshop
“Competition Policy for Entrepreneurship and Growth” 1997

Eastern Economics Association Paul Samuelson Lecture
“Bottleneck Access in Regulation and Competition Policy” 1997

ABA Annual Meeting, Section of Antitrust Law
“Antitrust in the 21st Century: The Efficiencies Guidelines” 1997

Peruvian Ministry of Energy and Mines Conference on Regulation of Public Utilities
“Regulation: Theoretical Context and Advantages vs. Disadvantages” 1997

The FCC: New Priorities and Future Directions
“Competition in the Telecommunications Industry” . 1997

American Enterprise Institute Studies in Telecommunications Deregulation
“The Scope of Competition in Telecommunications” 1996

George Mason Law Review Symposium on Antitrust in the Information Revolution
“Introduction to the Economic Theory of Antitrust and Information” 1996

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Korean Telecommunications Public Lecture
“Market Opening and Fair Competition”

Korea Telecommunications Forum
“Desirable Interconnection Policy in a Competitive Market”

European Association for Research in Industrial Economics Annual Conference
“Bottleneck Access: Regulation and Competition Policy”

Harvard Program on Global] Reform and Privatization of Public Enterprises
“Railroad and Other Infrastructure Privatization”

FCC Forum on Antitrust and Economic Issues Involved with InterLATA Entry
“The Scope of Telecommunications Competition”

Citizens for a Sound Economy Policy Watch on Telecommunications Interconnection
“The Economics of Interconnection” ~

World Bank Seminar on Experiences with Corporatization
“Strategic Directions of Privatization”

FCC Economic Forum on the Economics of Interconnection
Lessons from Other Industries

ABA Annual Meeting, Section of Antitrust Law
The Integration, Disintegration, and Reintegration
of the Entertainment Industry

Conference Board: 1996 Antitrust Conference
How Economics Influences Antitrust and Vice Versa

Antitrust 1996: A Special Briefing
Joint Ventures and Strategic Alliances

New York State Bar Association Section of Antitrust Law Winter Meeting
Commentary on Horizontal Effects Issues

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FTC Hearings on the Changing Nature of Competition in a Global and Innovation-Driven Age

Vertical Issues for Networks and Standards

Wharton Seminar on Applied Microeconomics
Access Policies with Imperfect Regulation

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Antitrust 1996, Washington D.C.
Assessing Joint Ventures for Diminution of Competition

ABA Annual Meeting, Section of Antitrust Law
Refusals to Deal -- Economic Tests for Competitive Harm

FTC Seminar on Antitrust Enforcement Analysis
Diagnosing Collusion Possibilities

Philadelphia Bar Education Center: Antitrust Fundamentals
Antitrust--The Underlying Economics

Vanderbilt University Conference on Financial Markets
Why Do Christie and Schultz Infer Collusion From Their Data?

ABA Section of Antitrust Law Chair=s Showcase Program
Discussion of Telecommunications Competition Policy

Conference Board: 1995 Antitrust Conference
Analysis of Mergers and Joint Ventures

ABA Conference on The New Antitrust: Policy of the '90s
Antitrust on the Super Highways/Super Airways

ITC Hearings on The Economic Effects of Outstanding Title VII Orders
"The Economic Impacts of Antidumping Policies"

OECD Working Conference on Trade and Competition Policy
"Empirical Evidence on The Nature of Anti-dumping Actions"

Antitrust 1995, Washington D.C.
"Rigorous Antitrust Standards for Distribution Arrangements"

ABA -- Georgetown Law Center: Post Chicago-Economics: New Theories
- New Cases?
"Economic Foundations for Vertical Merger Guidelines"

Conference Board: Antitrust Issues in Today's Economy
"New Democrats, Old Agencies: Competition Law and Policy"

Federal Reserve Board Distinguished Economist Series
"Regulated Private Enterprise Versus Public Enterprise"

Institut d'Etudes Politiques de Paris
"Lectures on Competition Policy and Privatization"

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Canadian Bureau of Competition Policy Academic Seminar Series, Toronto.
"Public Versus Regulated Private Enterprise" 1993

CEPS Symposium on The Clinton Administration: A Preliminary Report Card
"Policy Towards Business” 1993

Columbia Institute for Tele-Information Conference on Competition in Network Industries, New
York, NY
"Discussion of Deregulation of Networks: What Has Worked and What Hasn't"

1993

World Bank Annual Conference on Development Economics

"Public Versus Regulated Private Enterprise” 1993
Center for Public Utilities Conference on Current Issues Challenging the Regulatory Process

"The Economics of Current Issues in Telecommunications Regulation” 1992

"The Role of Markets in Presently Regulated Industries" 1992
The Conference Board's Conference on Antitrust Issues in Today's Economy, New York, NY

"Antitrust in the Global Economy" 1992

"Monopoly Issues for the '90s" 1993

Columbia University Seminar on Applied Economic Theory, New York, NY
"Economic Rationales for the Scope of Privatization” 1992

Howrey & Simon Conference on Antitrust Developments, Washington, DC
"Competitive Effects of Concern in the Merger Guidelines" 1992

Arnold & Porter Colloquium on Merger Enforcement, Washington, DC
"The Economic Foundations of the Merger Guidelines" 1992

American Bar Association, Section on Antitrust Law Leadership Council Conference, Monterey,
CA
"Applying the 1992 Merger Guidelines" 1992

OECD Competition Policy Meeting, Paris, France
"The Economic Impacts of Antidumping Policy" 1992

Center for Public Choice Lecture Series, George Mason University Arlington, VA
"The Economic Impacts of Antidumping Policy" 1992

Brookings Institution Microeconomics Panel, Washington, DC,
"Discussion of the Evolution of Industry Structure” 1992

AT&T Conference on Antitrust Essentials

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"Antitrust Standards for Mergers and Joint Ventures"

ABA Institute on The Cutting Edge of Antitrust: Market Power
"Assessing and Proving Market Power: Barriers to Entry"

Second Annual Workshop of the Competition Law and Policy Institute of New Zealand
"Merger Analysis, Industrial Organization Theory, and Merger Guidelines"
"Exclusive Dealing and the Fisher & Paykel Case"

Special Seminar of the New Zealand Treasury
"Strategic Behavior, Antitrust, and The Regulation of Natural Monopoly”

Public Seminar of the Australian Trade Practices Commission
"Antitrust Issues of the 1990's"

National Association of Attorneys General Antitrust Seminar
"Antitrust Economics"

District of Columbia Bar's 1991 Annual Convention
"Administrative and Judicial Trends in Federal Antitrust Enforcement"

ABA Spring Meeting
"Antitrust Lessons From the Airline Industry”

Conference on The Transition to a Market Economy - Institutional Aspects
"Anti-Monopoly Policies and Institutions"

Conference Board's Thirtieth Antitrust Conference
"Antitrust Issues in Today's Economy"

American Association for the Advancement of Science Annual Meeting
"Methodologies for Economic Analysis of Mergers"

General Seminar, Johns Hopkins University
"Economic Rationales for the Scope of Privatization"

Capitol Economics Speakers Series
"Economics of Merger Guidelines”

CRA Conference on Antitrust Issues in Regulated Industries
"Enforcement Priorities and Economic Principles"

Pepper Hamilton & Scheetz Anniversary Colloquium
"New Developments in Antitrust Economics"

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PLI Program on Federal Antitrust Enforcement in the 90's
"The Antitrust Agenda of the 90's" 1990

FTC Distinguished Speakers Seminar
"The Evolving Merger Guidelines" 1990

The World Bank Speakers Series
"The Role of Antitrust Policy in an Open Economy" 1990

Seminar of the Secretary of Commerce and Industrial Development of Mexico
"Transitions to a Market Economy" 1990

Southern Economics Association
"Entry in Antitrust Analysis of Mergers" 1990
"Discussion of Strategic Investment and Timing of Entry" 1990

American Enterprise Institute Conference on Policy Approaches to the
Deregulation of Network Industries
"Discussion of Network Problems and Solutions" 1990

American Enterprise Institute Conference on Innovation, Intellectual Property, and World
Competition
"Law and Economics Framework for Analysis" 1990

Banco Nacional de Desenvolvimento Economico Social Lecture
"Competition Policy: Harnessing Private Interests for the Public Interest" 1990

Western Economics Association Annual Meetings
"New Directions in Antitrust from a New Administration" 1990

"New Directions in Merger Enforcement: The View from Washington" 1990

Woodrow Wilson School Alumni Colloquium

"Microeconomic Policy Analysis and Antitrust--Washington 1990" 1990
Arnold & Porter Lecture Series

"Advocating Competition" 1991

"Antitrust Enforcement" 1990

ABA Antitrust Section Convention
"Recent Developments in Market Definition and Merger Analysis" 1990

Federal Bar Association
"Joint Production Legislation: Competitive Necessity or Cartel Shield?" 1990

Pew Charitable Trusts Conference

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"Economics and National Security"

ABA Antitrust Section Midwinter Council Meeting
"Fine-tuning the Merger Guidelines”
"The State of the Antitrust Division"

International Telecommunications Society Conference
"Discussion of the Impact of Telecommunications in the UK"

The Economists of New Jersey Conference
"Recent Perspectives on Regulation"

Conference on Current Issues Challenging the Regulatory Process
"Innovative Pricing and Regulatory Reform"
"Competitive Wheeling"

Conference Board: Antitrust Issues in Today's Economy
"Foreign Trade Issues and Antitrust"

McKinsey & Co. Mini-MBA Conference
"Economic Analysis of Pricing, Costing, and Strategic Business Behavior"

Olin Conference on Regulatory Mechanism Design
"Revolutions in Regulatory Theory and Practice: Exploring The Gap"

University of Dundee Conference on Industrial Organization and Strategic Behavior
"Mergers in Differentiated Product Industries"

Leif Johanson Lectures at the University of Oslo
"Normative Issues in Industrial Organization"

Mergers and Competitiveness: Spain Facing the EEC
"Merger Policy”
"R&D Joint Ventures"

New Dimensions in Pricing Electricity
"Competitive Pricing and Regulatory Reform"

Program for Integrating Economics and National Security: Second Annual Colloquium

"Arming Decisions Under Asymmetric Information"

European Association for Research in Industrial Economics
"U.S. Railroad Deregulation and the Public Interest"
"Economic Rationales for the Scope of Privatization"

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"Discussion of Licensing of Innovations" 1990

Annenberg Conference on Rate of Return Regulation in the Presence of Rapid Technical Change
"Discussion of Regulatory Mechanism Design in the Presence
of Research, Innovation, and Spillover Effects" 1987

Special Brookings Papers Meeting
"Discussion of Empirical Approaches to Strategic Behavior" 1987
"New Merger Guidelines" 1990

Deregulation or Regulation for Telecommunications in the 1990's
"How Effective are State and Federal Regulations?” 1987

Conference Board Roundtable on Antitrust
"Research and Production Joint Ventures" 1990
"Intellectual Property and Antitrust" 1987

Current Issues in Telephone Regulation
"Economic Approaches to Market Dominance: Applicability of
Contestable Markets" 1987

Harvard Business School Forum on Telecommunications
"Regulation of Information Services" 1987

The Fowler Challenge: Deregulation and Competition in The Local Telecommunications
Market

"Why Reinvent the Wheel?” 1986
World Bank Seminar on Frontiers of Economics

"What Every Economist Should Know About Contestable Markets" 1986
Bell Communications Research Conference on Regulation and Information

"Fuzzy Regulatory Rules" 1986

Karl Eller Center Forum on Telecommunications
"The Changing Economic Environment in Telecommunications:
Technological Change and Deregulation" 1986

Railroad Accounting Principles Board Colloquium
"Contestable Market Theory and ICC Regulation 1986

Canadian Embassy Conference on Current Issues in Canadian -- U.S. Trade and Investment
"Regulatory Revolution in the Infrastructure Industries" 1985

Eagleton Institute Conference on Telecommunications in Transition
"Industry in Transition: Economic and Public Policy Overview" 1985

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Brown University Citicorp Lecture
"Logic of Regulation and Deregulation"

Columbia University Communications Research Forum
"Long Distance Competition Policy"

American Enterprise Institute Public Policy Week
"The Political Economy of Regulatory Reform"

MIT Communications Forum
"Deregulation of AT&T Communications"

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Bureau of Census Longitudinal Establishment Data File and Diversification Study Conference

"Potential Uses of The File"

Federal Bar Association Symposium on Joint Ventures
"The Economics of Joint Venture Assessment”

Hoover Institute Conference on Antitrust
"Antitrust for High-Technology Industries"

NSF Workshop on Predation and Industrial Targeting _
"Current Economic Analysis of Predatory Practices"

The Institute for Study of Regulation Symposium: Pricing Electric,
Telecommunications Services Today and for the Future
"Contestability As A Guide for Regulation and Deregulation"

University of Pennsylvania Economics Day Symposium
"Contestability and Competition: Guides for Regulation and Deregulation"

Pinhas Sapir Conference on Economic Policy in Theory and Practice
"Corporate Governance and Market Structure”

Centre of Planning and Economic Research of Greece
"Issues About Industrial Deregulation"

"Contestability: New Research Agenda"

Hebrew and Tel Aviv Universities Conference on Public Economics
"Social Welfare Dominance Extended and Applied to Excise Taxation"

NBER Conference on Industrial Organization and International Trade
"Perspectives on Horizontal Mergers in World Markets"

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Workshop on Local Access: Strategies for Public Policy
"Market Structure and Government Intervention in Access Markets" 1982

NBER Conference on Strategic Behavior and International Trade
"Industrial Strategy with Committed Firms: Discussion" 1982

Columbia University Graduate School of Business, Conference on Regulation and New
Telecommunication Networks
"Local Pricing in a Competitive Environment" 1982

International Economic Association Roundtable Conference on New Developments in the
Theory of Market Structure
"Theory of Contestability" 1982
"Product Dev., Investment, and the Evolution of Market Structures” 1982

N.Y.U. Conference on Competition and World Markets: Law and Economics
"Competition and Trade Policy--International Predation" 1982

CNRS-ISPE-NBER Conference on the Taxation of Capital
"Welfare Effects of Investment Under Imperfect Competition" 1982

Internationales Institut fur Management und Verwalturg Regulation Conference

"Welfare, Regulatory Boundaries, and the Sustainability of Oligopolies" 1981
NBER-Kellogg Graduate School of Management Conference on the
Econometrics of Market Models with Imperfect Competition

"Discussion of Measurement of Monopoly Behavior: An

Application to the Cigarette Industry" 1981
The Peterkin Lecture at Rice University

"Deregulation: Ideology or Logic?" 1981
FTC Seminar on Antitrust Analysis

"Viewpoints on Horizontal Mergers / 1982

"Predation as a Tactical Inducement for Exit" 1980

NBER Conference on Industrial Organization and Public Policy
"An Economic Definition of Predation" 1980

The Center for Advanced Studies in Managerial Economics Conference on The Economics of
Telecommunication

"Pricing Local Service as an Input" 1980
Aspen Institute Conference on the Future of the Postal Service

"Welfare Economics of Postal Pricing” 1979

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Department of Justice Antitrust Seminar
"The Industry Performance Gradient Index"

Eastern Economic Association Convention
"The Social Performance of Deregulated Markets for Telecom Services"
1979

Industry Workshop Association Convention
"Customer Equity and Local Measured Service"

Symposium on Ratemaking Problems of Regulated Industries
"Pricing Decisions and the Regulatory Process"

Woodrow Wilson School Alumni Conference
"The Push for Deregulation"

NBER Conference on Industrial Organization
"Intertemporal Sustainability”

World Congress of the Econometric Society
"Theoretical Industrial Organization"

Institute of Public Utilities Conference on Current Issues in Public Utilities Regulation

"Network Access Pricing”

ALI-ABA Conference on the Economics of Antitrust
"Predatoriness and Discriminatory Pricing”

AEI Conference on Postal Service Issues
"What Can Markets Control?"

University of Virginia Conference on the Economics of Regulation
"Public Interest Pricing”

DRI Utility Conference
"Marginal Cost Pricing in the Utility Industry: Impact and Analysis"

International Meeting of the Institute of Management Sciences
"The Envelope Theorem"

University of Warwick Workshop on Oligopoly
"Industry Performance Gradient Indexes"

North American Econometric Society Convention
"Intertemporal Sustainability"

"Social Welfare Dominance”

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"Economies of Scope, DAIC, and Markets with Joint Production" 1977
Telecommunications Policy Research Conference
"Transition to Competitive Markets" 1986
"InterLATA Capacity Growth, Capped NTS Charges and Long
Distance Competition" 1985
"Market Power in The Telecommunications Industry" 1984
"FCC Policy on Local Access Pricing" 1983
"Do We Need a Regulatory Safety Net in Telecommunications?" 1982
"Anticompetitive Vertical Conduct" 1981
"Electronic Mail and Postal Pricing" 1980
"Monopoly, Competition and Efficiency": Chairman 1979
"A Common Carrier Research Agenda” 1978
“Empirical Views of Ramsey Optimal Telephone Pricing" 1977
"Recent Research on Regulated Market Structure” 1976
"Some General Equilibrium Views of Optimal Pricing” 1975
National Bureau of Economic Research Conference on Theoretical Industrial Organization
"Compensating Variation as a Measure of Welfare Change" 1976
Conference on Pricing in Regulated Industries: Theory & Application
"Ramsey Optimal Pricing of Long Distance Telephone Services" 1977

NBER Conference on Public Regulation
"Income Distributional Concerns in Regulatory Policy-Making" 1977

Allied Social Science Associations National Convention

"Merger Guidelines and Economic Theory" 1990
Discussion of "Competitive Rules for Joint Ventures" 1989
"New Schools in Industrial Organization” 1988
"Industry Economic Analysis in the Legal Arena" : 1987
"Transportation Deregulation" 1984
Discussion of "Pricing and Costing of Telecommunications Services" 1983
Discussion of "An Exact Welfare Measure" 1982
"Optimal Deregulation of Telephone Services" 1982
"Sector Differentiated Capital Taxes" 198]
"Economies of Scope" 1980
"Social Welfare Dominance" 1980
"The Economic Definition of Predation" 1979
Discussion of "Lifeline Rates, Succor or Snare?" 1979
"Multiproduct Technology and Market Structure” 1978
"The Economic Gradient Method" 1978
"Methods for Public Interest Pricing" 1977
Discussion of "The Welfare Implications of New Financial Instruments” 1976
"Welfare Theory of Concentration Indices" 1976
Discussion of "Developments in Monopolistic Competition Theory" 1976

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"Hedonic Price Adjustments"

"Public Good Attributes of Information and its Optimal Pricing"
"Risk Invariance and Ordinally Additive Utility Functions"
"Consumer's Surplus: A Rigorous Cookbook"

University of Chicago Symposium on the Economics of Regulated Public Utilities
"Optimal Prices for Public Purposes"

American Society for Information Science
"The Social Value of Information: An Economist's View"

Institute for Mathematical Studies in the Social Sciences Summer Seminar
"The Sustainability of Natural Monopoly”

U.S.-U.S.S.R. Symposium on Estimating Costs and Benefits of Information Services
"The Evaluation of the Economic Benefits of Productive Information"

NYU-Columbia Symposium on Regulated Industries
"Ramsey Optimal Public Utility Pricing”

Research Seminars:

Bell Communications Research (2) University of California, San Diego
Bell Laboratories (numerous) University of Chicago
Department of Justice (3) University of Delaware
Electric Power Research Institute University of Florida

Federal Reserve Board _- University of Illinois

Federal Trade Commission (4) University of lowa (2)
Mathematica Universite Laval

Rand University of Maryland

World Bank (3) University of Michigan
Carleton University University of Minnesota
Carnegie-Mellon University University of Oslo

Columbia University (4) University of Pennsylvania (3)
Cornell University (2) University of Toronto
Georgetown University University of Virginia
Harvard University (2) University of Wisconsin

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Hebrew University University of Wyoming

Johns Hopkins University (2) Vanderbilt University

M. I. T. (4) Yale University (2)

New York University (4) Princeton University (many)

Northwestern University (2) Rice University

Norwegian School of Economics and Stanford University (5)
Business Administration S.U.N.Y. Albany

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Attachment 2:
Robert Willig Expert Testimony Provided in the Last Four Years

1. Inthe Matter of Verizon New Jersey, Inc. — Resolution for Assistance
Resolving Interconnection Negotiations with US Cable of Paramus/Hillsdale,
Time Warner Cable, Cablevision, and Comcast; Before the State of New Jersey
Office of Board of Public Utilities, Docket No. CO07070524; Expert Report
4/21/2008; Testimony 5/12/2008.

2. New England Carpenters Health Benefits Fund et al.v. First Databank, Inc.,
and McKesson Corp. In the United States District Court for the District of
Massachusetts, Civil Action: 1:05-CV-11148-PBS, Expert Report 1/24/2007;
Rebuttal Expert Declaration 5/07/2007; Expert Declaration 10/15/2007;

’ Rebuttal Expert Declaration 11/08/2007; Expert Declaration 11/28/2007.
Expert Declaration 5/21/08. Expert Report 10/1/08.

3. AT&T and Centennial; Before the Federal Communications Commission; WT
Docket No. 08-246; Expert. Report 11/20/2008.

4. Inthe Matter of Lisa Reed and Cindy Digiannantonio v. Advocate Health Care,
et al. In the Northern District of Illinois Eastern Division, Civil Action No. 06
C 3337; Expert Report 1/20/2009; Supplemental 2/27/2009; Deposition
Testimony 3/23/2009-3/24/2009.

5. In the matter of Implementation of Section 6002(b) of the Omnibus Budget
Reconciliation Act of 1993, Annual Report and Analysis of Competitive
Market Conditions with Respect to Mobile Wireless Including Commercial
Mobile Services; Before the Federal Communications Commission; wr
Docket No. 09-66; Declaration, 9/30/09.

6. Cindy Cullen, Wendy Fleishman, on Behalf of Themselves and All Others
Similarly Situated v. Albany Medical Center, Ellis Hospital, Northeast Health,
Seton Health System, and St. Peter’s Health Care Service, In the United
States District Court for the Northern District of New York, Civil Action No.
06-CV-0765/ TJM/ DRH; Expert Report 2/29/2008; Deposition 3/27-28/2008;
Expert Report 9/4/2009; Deposition 11/19-20/2009, Declaration 12/28/2009.

7. Inthe Australian Competition Tribunal: Re: Application for Review of the
Deemed Decision by the Commonwealth Treasurer of 23 May 2006 under
Section 44H(9) of the Trade Practices Act 1974 (CTH) in Relation to the
Application for Declaration of Services Provided by the Mount Newman
Railway Line, By: Fortescue Metals Group Limited; Re: Application for
Review of the Deemed Decision by the Commonwealth Treasurer of 27
October 2008 under Section 44H(1) of the Trade Practices Act 1974 (CTH) in
Relation to the Application for Declaration of Services Provided by the Robe
RailwayBy: Robe River Mining Co PTY LTD & ORS; Re: Application for
Review of the Deemed Decision by the Commonwealth Treasurer of 27

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October 2008 under Section 44H(1) of the Trade Practices Act 1974 (CTH) in
‘Relation to the Application for Declaration of Services Provided by the
Hamersley Rail Network, By: Hamersley Iron Co PTY LTD & ORS; Re:
Application for Review of the Deemed Decision by the Commonwealth
Treasurer of 27 October 2008 under Section 44H(1) of the Trade Practices Act
1974 (CTH) in Relation to the Application for Declaration of Services
Provided by the Goldsworthy Railway, By: BHP Billiton Iron Ore PTY LTD
and BHP Billiton Minerals PTY LTD; Expert Report 6/30/2009 and 9/18/2009,
Trial Testimony 11/2/2009-1 1/6/2009.

8. Stagecoach Group PLC and Coach USA, Inc., et al, Acquisition of Control,
Twin America, LLC, Before the Surface Transportation Board, Verified
Statement of Professor Robert D. Willig, Submitted November 17, 2009.

9. In re: Rail Freight Fuel Surcharge Antitrust Litigation, In the United States
District Court for the District of Columbia, MDL Docket No. 1869, Misc. No.
07-489 (PLF), Expert Report, 8/1/2010, deposition 8/4/2010

10. Before the Federal Reserve Bank: Docket Number R-1404: Proposed Rule on
Debit Card Interchange Fees and Routing, written statement 2/22/2011.

11. Before the Surface Transportation Board: Docket Number EP 704: Review of
Commodity, Boxcar, and TOFC/COFC Exemptions; written statement
1/31/2011; testimony at hearing 2/23, 24/2011.

12. New Zealand Commerce Commission vs. Malaysian Airline Systems Berhad,
Ltd. and et. al.; High Court of New Zealand: CV 2008-404-8350, Brief of
Evidence 4/28/2011, Trial testimony 5/20/11 and 5/23-27/2011.

13. Before the Federal Communications Commission: Docket Number 11-65: For
Consent to Assign or Transfer Control Licenses and Authorization, written
reply statement 6/9/2011.

14. In Re: Checking Account Overdraft Litigation, MDL No. 2036 In the United
States District Court for the Southern District of Florida, Miami Division, Case
No. 09-MD-02036-JLK, Luquetta v. JPMorgan Chase Bank, Declaration In
Support of JP Morgan Chase Bank, N.A.'s Opposition to Class Certification,
June 16, 2011.

15. Before the Surface Transportation Board: Docket Number EP 705:
Competition in the Rail Industry, written statement 4/12/2011, written reply
statement 5/27/2011, testimony at hearing 6/22, 23/2011.

16. In the Matter of Rambus Inc. v. Micron Technology, Inc., et al. In the Superior
Court of the State of California County of San Francisco, Civil Action No. 04-
431105; Expert Report 11/08/2008; Supplemental Expert Report 12/19/2008,
Deposition Testimony 5/7/2009-5/8/2009, Trial testimony 9/1,6,7/2011.

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In Re McKesson Governmental Entities Average Wholesale Price Litigation,
Master File No.: 1:08-CV-10843-PBS; The Board of County Commissioners
of Douglas County, Kansas et al. v. McKesson Corp., Expert Report, April 14,
2010, Response Report, June 28, 2010; Related to Connecticut v. McKesson
Corp., Expert Report, April 14, 2010; Related to Montana v. McKesson
Corporation, Expert Report, November 8, 2010; Related to Oklahoma v.
McKesson Corporation, Expert Report, November 8, 2010; San Francisco
Health Plan, et al. v. McKesson Corporation, Rebuttal Expert Report,
September 19, 2011.

Before the Public Service Commission of Maryland, Case No.: 9271, In the
Matter of the Merger of Exelon Corp. and Constellation Energy Group, Inc.,
written Market Power Rebuttal Testimony, 10/17/2011, written Surrebuttal

_ Testimony, 10/26/2011, Hearing testimony, 11/2011.

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In Re TFT-LCD (Flat Panel) Antitrust Litigation, In the United States District
Court Northern District of California San Francisco Division, DELL Inc., et.
al., v. SHARP Corporation, et al., Case No. 3:10-cv-01064 SI MDL No. 3:07-
md-1827-SI, expert report, 2/23/2012, deposition, 4/18/2012.

In Re TFT-LCD (Flat Panel) Antitrust Litigation, In the United States District
Court Northern District of California San Francisco Division, Motorola
Mobility Inc. v. SHARP Corporation, et al.,Case No. 3:09-cv-05840SI MDL
No. 3:07-md-1827-SI, expert report, 2/23/2012, deposition, 4/18/2012.

In Re TFT-LCD (Flat Panel) Antitrust Litigation, In the United States District
Court Northern District of California San Francisco Division, AT&T Mobility
Inc. v. SHARP Corporation, ef al.,Case No. 09-cv-4997 SI MDL No. 07-m-
1827-SI, expert report, 2/27/2012, deposition, 4/18/2012.

In Re TFT-LCD (Flat Panel) Antitrust Litigation, In the United States District
Court Northern District of California San Francisco Division, BEST BUY
CO., Inc., et. al., v. AU OPTRONICS CORP., et al., Case No. 10-cv-4572 SI
MDL No. 07-md-1827-SI, expert report, 3/5/2012, deposition, 4/18/2012.

Clark R. Huffman and Brandi K. Winters, individually and on behalf of all
others similarly situated vs. PRUDENTIAL INSURANCE COMPANY of
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Attachment 3: Materials Relied Upon by Robert D. Willig

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